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         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

WARREN BERES, et al.,             )
                                  )
Plaintiffs,                       )
                                  )      Nos. 03-785L, 04-1456L, 04-
v.                                )      1457L, 04-1458L, 04-1459L, 04-
                                  )      1463L, 04-1465L, 04-1466L, 04-
UNITED STATES,                    )      1467L, 04-1468L, 04-1469L, 04-
                                  )      1471L, 04-1472L, 04-1473L, 04-
Defendant.                        )      1474L
                                  )
                                  )      The Honorable Marian Blank Horn
                                  )



     Plaintiffs’ Opposition to Defendant’s Motion for Partial Summary
      Judgment and Plaintiffs’ Cross Motion for Summary Judgment


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consolidated Plaintiffs:               Beres; Ritzen, et al.; Morel, et al.;
Brown, et al.; Collins, et al.;        Klein; Chamberlin, et al.; Nelson,
Estate of Pearl Welch, et al.;         et al.; Lane; Peterson, et al.;
Waverly Hills Club, et al.             Schroeder; Manning, et al.; and
                                       Spencer, et al.


                                                               February 2, 2018
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 1         Table of Plaintiffs
 2           Maps and Visual Illustrations
 3           Declaration of Charles A. Klinge in
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       A     Fidelity Title Report                       Spencer      12/29/2017
       B     Fidelity Title Report                        Rossi       12/28/2017
       C     Fidelity Title Report                     Brockway       12/28/2017
       D     Deed: Zacuse to Cook                    Spencer Group    1/27/1919
       E     Deed: Cook to Anderson                  Spencer Group    12/29/1919
       F     Connell’s Plat Map ver. 1               Spencer Group     March,
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       G     Connell’s Plat Map ver. 2               Spencer Group     March,
                                                                         1927
       H     Deed: McCarty to Spencer                    Spencer      8/17/1992
       I     Deed: Dargitzes to Rossi                     Rossi       7/20/1983
       J     Deed: Hennings to Brockway                Brockway       3/26/1973
       K     Deed: Ebright to Kuhnert                     Raab        11/9/1934
       L     Deed: Kuhnert to Jennings                    Raab        6/23/1936
       M     Deed: Jennings to Peterman                   Raab        4/29/1943
       N     Deed: Peterman to Sprague                    Raab        2/27/1947
       O     Survey by Orland L. Anderson                 Raab        1/19/1967
       P     Deeds: Raab to Donna Raab                    Raab        12/22/1992
       Q     Deed: Tallentire to King County           Schroeder       4/8/1908
       R     Deed: Tallentire to Johnson               Schroeder       2/5/1909
       S     Probate: Otto Johnson                     Schroeder      10/20/1927
       T     Guardianship: Anna Johnson                Schroeder      10/16/1956
       U     Guardianship: Anna Johnson                Schroeder      6/19/1961
       V     Deed: Johnson to Williams                 Schroeder      7/24/1961
       W     Survey                                    Schroeder       4/2/2003
       X     Deed: Gladd to Hooper; Diagram            Schroeder      1/21/1964
       Y     Deed: Gladd to Griswold; Diagram          Schroeder      4/10/1963
       Z     Diagram                                   Schroeder         ---


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No.  No.                                                or Issue
 3   AA    Fidelity Title Report                       Shorelands      12/2/2014
       BB    Diagram: Government Lot 2                  Shorelands        ---
       CC    Deed: Bertha Palmberg to King County       Shorelands     9/29/1914
      DD     Probate: Bertha Palmberg to King           Shorelands     10/30/1919
             County
       EE    Lawyers and Realtors Title Report          Shorelands     7/19/1928
       FF    Deed: State of Washington to               Shorelands     3/15/1940
             Palmberg et al.
      GG     Partition Lawsuit: Complaint               Shorelands     11/3/1945
      HH     Washington Title Report                    Shorelands     11/19/1946
       II    Partition Lawsuit: Findings                Shorelands     1/21/1949
       JJ    Partition Lawsuit: Referee’s Return of     Shorelands     5/14/1949
             Sale
      KK     Deed: Referee’s Corrected to J.A.          Shorelands     8/16/1949
             Earley
       LL    Real Estate Contract: Earley to Hughes   Nelson/Hughes    4/19/1962
      MM     Deed: Earley to Hughes                   Nelson/Hughes    7/12/1976
      NN     Tax Assessor eReal Property: Parcel          Nelson        5/4/2017
             9042
      OO     Tax Assessor eReal Property: Parcel         Hughes         5/4/2017
             9085
       PP    Letter: Assessor to Rodgers              Nelson/Hughes    6/10/1/982
      QQ     Deed: Referee to Simpson                    Hughes         6/8/1949
       RR    Real Estate Contract: Simpson to            Hughes        11/23/1962
             Hughes
       SS    Deed: Hughes, G.G. to Hughes, W.F.          Hughes        4/11/1956
       TT    State DNR: Waiver of Preference             Hughes        7/28/1950
             Right
      UU     State DNR: Order                            Hughes        7/30/1951
      VV     Deed: State of Washington to Hughes,        Hughes        9/19/1951
             G.G.
      WW     Deed: Hughes, G.G. to Hughes, W.F.          Hughes        6/14/1966
      XX     Deed: Hughes, G.G. to Hughes, W.J.          Hughes        3/21/1978
      YY     Survey                                      Hughes         3/5/1987
       ZZ    Deed: Hughes, W.F. to Hughes, W.J.          Hughes        12/8/1987
      AAA    Survey                                      Hughes        10/11/1987
      BBB    Deed: Hughes, W.F. to Hughes, W.J.          Hughes        9/22/1988


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No.  No.                                               or Issue
 3   CCC Deed: Hughes, W.F. to Hughes, W.F.             Hughes        9/22/1988
     DDD    Deed: Hughes, W.F. to Kao Family            Hughes        5/24/1989
            Ptn.
     EEE    State DNR, Commissioner of Public          Shorelands      8/3/1928
            Lands, Engineer’s Report
      FFF   State DNR, Shoreline Activity Register     Shorelands        ---
     GGG    Deed: Referee to J.A. Earley               Shorelands     6/17/1949
     HHH    Partition Lawsuit: Petition for          Nelson/Hughes    8/12/1949
            Corrected Deed
      III   Assessor Map Book                        Nelson/Hughes       ---
      JJJ   Assessor Map Book                        Nelson/Hughes       ---
     KKK    Assessor Map Book                        Nelson/Hughes       ---
     LLL    Tax Assessor eReal Property: Parcel         Hughes        12/22/2017
            9071
     MMM    Diagram                                     Hughes           ---
     NNN    Diagram                                     Hughes           ---
     OOO    Probate: William A. Connell              Spencer Group    1/24/1928
      PPP   Aerial Photo                             Spencer Group    5/11/1953
     QQQ    Probate: Lotta M. Ebright                   Matrinez      8/27/1959
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            No. 1136A
      SSS   Map: Portion King Co. Eng. Survey          Shorelands     8/25/1930
            No. 1136B
     TTT    Assessor Tax Roll: Parcel 9085              Hughes        1980-1981
     UUU    Assessor Tax Roll: Parcel 9042               Nelson       1980-1981
     VVV    Diagram: Government Lot 2                  Shorelands        ---
    WWW Assessor Tax Roll: Parcel 9071                  Hughes        1980, 1986
     XXX    Aerial Photo                                 Raab         5/11/1953
     YYY    Deed: Connell to Breckberg               Spencer Group     8/8/1923
     ZZZ    Deed: Stangroom to Byco; Short Plat      Nelson/Hughes    1978-1979
4           Declaration of Jerry Broadus               Shorelands
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5           Declaration of Ray Spencer                  Spencer
       A    Schematic                                   Spencer


6           Declaration of Carolyn Rossi                 Rossi

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       C    Photo                                       Rossi
       D    Schematic                                   Rossi
7           Declaration of Reid Brockway              Brockway
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8           Declaration of Doug McCallum              McCallum
9           Declaration of Clifford Schroeder         Schroeder
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       D    Photo                                   Nelson/Hughes
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13          Declaration of Vicki E. Orrico
       A    Deed: Referee’s Corrected to J.A.         Shorelands      8/11/1949
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       H     Contract: Barrett to Zylstra               Freedman       3/13/1970
       I     Deed: Barrett to Zylstra                   Freedman       3/27/1970
       J     Contract: Zylstra to Lewis                 Freedman       10/15/1971
       K     Deed: Zylstra to Lewis                     Freedman       10/15/1971
       L     Deed: N. Lewis to B. Lewis.                Freedman       6/21/1984
      M      Deed: Lewis to Freedman                    Freedman       10/10/1988
       N     Correction Deed: Lewis to Freedman         Freedman       4/30/1991
       O     Deed: Estate of R. Earley to J. Earley      Collins       9/14/1981
       P     Boundary Line Agreement                     Collins       1/14/1983
       Q     Boundary Line Agreement                     Collins       1/17/1983
       R     Deed: Earley to Z. Short                    Collins       2/18/1983
       S     Deed: Short to Collins                      Collins       9/26/1989
       T     Deed: D. Collins to V. Collins              Collins       11/14/1991
       U     Deed: V. Collins to D. & V. Collins         Collins       11/31/1992
       X     Plat showing location of Barrett lot         Barrett         ---
       Y     Plat showing location of Freedman lot       Collins          ---
       Z     Plat showing location of Collins lot        Collins          ---
14           Declaration of Mike Collins                 Collins
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15           Declaration of Pamela Barrett                Barrett
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                                      INTRODUCTION

    This dispute concerns the ownership of strips of land underlying one hundred

foot-wide railroad right-of-way easements which Plaintiffs contend they own and

Defendant contends they do not.

    For over a decade and, in some cases, up to half a century or longer, prior to the

date of taking, the Plaintiffs and their predecessors in interest had used and

occupied all or parts of these strips of land.1 They did so in the belief that they

owned not just the abutting properties on which they paid taxes, but they owned the

servient estate burdened by the railroad easements as well. During this same

period, never did a phantom, absent third-party landowner say or do anything to

suggest that they had hung onto the servient estate under the right of way when

deeding Plaintiffs’ properties. This is because the Plaintiffs are the servient owners

of fee interest to the subject property through the recorded title in these properties.

But if the title to their abutting lands somehow failed to convey fee ownership in the

railroad strip, then the Plaintiffs or their predecessors in interest adversely

possessed these strips and were fee owners of them as of September 18, 1998—the

date the United States took their property interests without paying just

compensation.2


1
  For a complete list of the Plaintiffs whose property interests remain at issue in this briefing, see
Table of Plaintiffs, Ex. 1, which lists the Plaintiffs and the specific issues for each, and separately
lists those who are not included in the parties’ cross-motions for partial summary judgment. As also
detailed in that Table, certain Plaintiffs have settled their claims, or settled the question of title,
rendering the arguments in the Defendant’s brief as to those claims moot. All references to
“Plaintiffs” herein go only to the Plaintiffs who are moving for partial summary judgment; all other
Plaintiffs in this case are not referenced in this brief.
2
 See Burlington N. & Santa Fe Ry. Co.-Abandonment Exemption-in King Cnty., WA, STB Docket No. AB-
6 (Sub. No. 380X), 1998 WL 638432 (S.T.B. Sept. 18, 1998) (“NITU”).

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   The Defendant nonetheless argues that Plaintiffs do not own these strips of land

because (1) a metes and bounds description was used that, it argues, excluded the

right of way or (2) Plaintiffs’ deeds convey “second class shorelands” which,

Defendant contends, must necessarily exclude the right of way. But Defendant

makes its case in a vacuum, void of any nuanced understanding of the terms of the

deeds or the context in which the material terms were drafted. Defendant also fails

to apprehend that the overwhelming evidence shows there are no bona fide third-

party owners out there who ever claimed interest in these properties, and

Defendant certainly offered no evidence to suggest the contrary. Context and

subsequent events are material under Washington law when construing any deed—

whether clear or ambiguous—and when those factors are applied here, they

inexorably lead to the conclusion that Plaintiffs’ deeds conveyed fee title underlying

the railroad easements.

   Defendant also seeks a ruling that Plaintiffs cannot obtain title via adverse

possession on the theory that the Interstate Commerce Commission Termination

Act of 1995, 49 U.S.C. § 10501(b) (ICCTA), preempts all adverse possession claims,

and because Washington law, it argues, does not allow adverse possession of

reversionary interests. But the ICCTA would only preempt adverse possession if it

interferes with railroad operations or the STB’s regulatory authority over the

corridor, neither of which is the case here. And Defendant misapplies a Washington

case that deals strictly with government-held land for public purposes to argue that

adverse possession is not possible, while ignoring that the reasoning therein does

not apply in the context of a railroad right of way.




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   Plaintiffs will address these issues in the order presented by the Defendant and

cross-move for a partial summary judgment ruling that these Plaintiffs own fee title

to the land underlying the right of way.


                 STANDARD FOR SUMMARY JUDGMENT

   Plaintiffs concur with the Defendant’s discussion of the standard of review and

add the following:

   Summary judgment is appropriate when there is “no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” RCFC

56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). A “genuine”

dispute is one that “may reasonably be resolved in favor of either party,” id. at 250,

and a fact is “material” if it has the potential to significantly alter the outcome of a

case under the governing law. Id. at 248. But, the “mere existence of some alleged

factual dispute between the parties will not defeat an otherwise properly supported

motion for summary judgment; the requirement is that there be no genuine issue of

material fact.” Id.

   When considering cross-motions for summary judgment, the Court must

evaluate each motion in its own right and resolve any reasonable inferences against

the party whose motion is being considered. First Fed. Sav. Bank of Hegewisch v.

United States, 52 Fed. Cl. 774, 780 (2002). Cross-motions for summary judgment

“are not an admission that no material facts remain at issue.” Massey v. Del Labs.,

Inc., 118 F.3d 1568, 1573 (Fed. Cir. 1997) (citation omitted). The parties may focus

on different legal principles and allege as undisputed a different set of facts. Id. And

“[e]ach party carries the burden on its own motion to show entitlement to judgment



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as a matter of law after demonstrating the absence of any genuine disputes over

material facts.” Id.


                                STATEMENT OF FACTS 3

    This dispute concerns eleven segments of right-of-way strips, each of which is

100 feet wide and each of which abuts a different property immediately to the west

of the right of way.4 Five of the parcels are in dispute because the Plaintiffs’ deeds

include metes and bounds descriptions to the right of way boundary (with one

exception) that, Defendants contends, deprived them of ownership of the right of

way; this has sometimes been referred to by the Parties as a “Roeder” issue.5 These

five properties are owned by five sets of Plaintiffs: the Spencer, Rossi, Brockway,

Schroeder, and Matrinez, Plaintiffs. The remaining six parcels do not have a Roeder

issue but are in dispute because the Plaintiffs’ deeds use the term “shorelands” in

the conveyances.6 These six properties are owned by five sets of Plaintiffs: the

Hughes Estate (two parcels), Nelson, Freedman, Barrett, and Collins Plaintiffs.

Thus, there are eleven right-of-way segments that the Defendant argues must

3
 The facts supporting Plaintiffs’ ownership of the right of way are extensive and, Plaintiffs propose,
should be uncontroverted. A complete discussion of the facts, along with the citations to the
exhibits, are provided in the sections below addressing the specific issues in dispute so that they can
be understood in context with the legal analysis. This abbreviated statement of facts is to provide
context for the arguments which follow.
4
 See Ex. 2, attachments showing the general vicinity, the approximate location of all eleven
properties, and enlarged views of the locations of the properties.
5
 Deeds containing metes and bounds descriptions have the so-called “Roeder issue” because of
Roeder Co. v. Burlington N., Inc., 716 P.2d 855 (1986), which construed deeds with metes and bounds
and concluded that the specific metes and bounds in the deed in that case rebutted the usual
presumption that an abutting owner owned to the centerline of an adjoining right of way, as was
discussed in part in Defendant’s Brief. E.g.,U.S. Mem. at 11.
6
 Older authorities use the phrase “shore lands” while more recent authorities use the single word
“shorelands.”

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necessarily be owned by third-party landowners because, it contends, they are not

owned by Plaintiffs.

     None of these Plaintiffs, all of whom have treated these right-of-way parcels as

their own, have ever known or heard of any third-party owner claiming that they,

not the Plaintiffs, own the right of way. Additionally, in preparation for the

summary judgment motions in this dispute, Plaintiffs undertook extensive title

research not only on their own chains of title on the eleven sets of properties in

dispute, but on the chains of title of third-party successors-in-interest to determine

if any had recorded instruments pertaining to the right-of-way segments which

would suggest that they, not Plaintiffs, were the true owners. Plaintiffs found no

evidence of any such third-party recordings.7


I.      Parcels with the Roeder Issue

     As to the five parcels with the Roeder issue, the facts relevant to the Plaintiffs’

claims diverge into effectively three sets: First, for the Brockway, Rossi, and

Spencer Plaintiffs, the metes and bounds first showed up when properties were

platted for development. As will be discussed, below, those metes and bounds were

required by the County Assessor when platting the development, and the grantors

who first used a metes and bounds reference did not use, sell or bequeath the right

of way as if they kept it. Additionally, the “metes and bounds” used in these grants

were not of the same type as the “metes and bounds” used in the Roeder case, and

the difference matters.




7
 See Ex. 3 (Klinge Decl.), ¶ 13 (re Spencer), ¶ 16 (re Rossi), ¶ 20 (re Brockway), ¶ 34 (re Matrinez), ¶
46 (re Schroeder), ¶ 66 (re shorelands).

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      Second, the Schroeders have a metes and bounds reference, but the metes and

bounds description is not co-terminous with the right of way’s edge, and in fact

overlaps the right of way. Additionally, the grantor never used, sold or bequeathed

the right of way that would suggest an intent to keep the right of way.

      And, third, Ms. Matrinez has a metes and bounds reference in her deed, but

extrinsic evidence likewise shows an absence of indicia that the grantor was

reserving the right of way and not conveying it with the property.


II.      Parcels with the Shorelands Issue

      As to the Shorelands issue, which concerns six sets of parcels, the material facts

are common to all five sets of Plaintiffs in this group. Alfred Palmberg, Plaintiff

Beth Nelson’s great-grandfather, was the original owner of all lands in Government

Lots 1 & 2 (along with lands in other lots, which are not at issue here).8 In 1887 he

deeded to the railroad a 100-foot-wide easement across his property. At the time of

that conveyance, Palmberg owned the uplands but had not yet acquired the

shorelands from the State, which were and are defined as submerged lands along

the borders of lakes and rivers. The right of way grant skirted the shorelands in

Government Lot 2, and was constructed within approximately 20 years of the

Palmberg grant.

      Palmberg died in 1908, and his wife, Bertha, died in 1918, leaving all the

remaining, undivided property to her six children, three of whom were from another

marriage. The property was situated in Government Lots 1 and 2. In 1928, their

son, Alfred W. Palmberg, applied to purchase the shorelands adjoining Government


8
 See Ex. 2, p. 3, map showing Palmberg patented lands in Government Lots 1 and 2 relevant to the
properties with shorelands issues.

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Lot 2 from the State of Washington. Only upland owners—the owners of land

immediately next to the shorelands—had first rights to buy shorelands from the

State. The application was granted and in 1940 the State executed a deed to the six

Palmberg heirs. So, as of 1940, the six Palmberg heirs owned both the uplands and

shorelands in Government Lot 2 and all the uplands in Government Lot 1.

   In 1945—and this is where the “shorelands” misnomer showed up in Plaintiffs’

chain of title—one of the heirs, Bert Stares (Bertha’s son from another marriage,

hence the different last name), filed a partition action in order to split the

remaining Palmberg property between the six heirs. In that partition action, the

east border of the railroad right of way became a demarcation line for what was

being partitioned. The court ultimately determined that all the Palmberg-heir lands

to the east of the railroad right-of-way border in Government Lot 2, were owned by

Annie Stangroom, one of the heirs, because she had purchased the land after a tax

foreclosure. The rest—all lands west of the east line of the railroad right of way, and

thus the fee in the right of way itself—went to the rest of the siblings. And in that

partition action, and ever thereafter, all the lands west of the east railway border

were called “second class shorelands.” Ex. 3-VVV (Klinge Decl.) (light gray area).

   Accordingly, in the circumstances of this case, “second class shorelands,” was a

catch-all, albeit misleading, phrase that actually included some uplands (which

explains why the Plaintiffs and their predecessors have paid taxes on the uplands

since 1981 when the tax assessor caught the misnomer), and the right of way itself.

That same misnomer was repeated in successive conveyances, up to and including

the conveyances of the “second class shorelands” to the Plaintiffs in this shorelands

group.



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     Consistent with the above history, on all eleven parcels, for two decades or

longer leading up to the date of the taking and thereafter, the Plaintiffs and their

predecessors built homes, built shelters, built fire pits, groomed, weeded, cleared,

landscaped, played on, parked on, and otherwise treated the right of way as their

own property, subject to the railroad’s right to use the easement to operate trains.


                                    ARGUMENT

I.      Plaintiffs’ Ownership of the Right of Way Derives from the Titles to
        Their Properties Which Abut the Right of Way.

     The overarching goal of property law in Washington is for courts to effectuate

the intent of the parties to property conveyances. Kershaw v. Sunnyside Ranches

Inc. v. Yakima Interurban Lines Ass’n, 126 P.3d 16, 25–26 (Wash. 2000). And,

subsumed in that goal, for the certainty of titles, reservations from grants generally

are not implied. Granite Beach Holdings, LLC v. State ex rel. Dep’t of Nat. Res., 11

P.3d 847, 853 (Wash. 2000) (citing Leo Sheep Co. v. United States, 440 U.S. 668

(1979)). The Defendant’s statement that there is no need to identify who owns the

property it contends Plaintiffs do not own, U.S. Mem. 12, fn. 5, is at odds with the

underlying policies driving Washington law on resolving property disputes. It may

not be necessary to identify which of John Smith or Jane Doe owns the land if a

Plaintiff does not own it, but the inability to assign the rights to anyone other than

a Plaintiff means the Defendant’s reasoning is inherently inconsistent with the

overarching goal of Washington law which looks for certainty in title. The

Defendant’s flawed reasoning is exemplified in its criticism of Plaintiffs for not

identifying the landowners to whom the Plaintiffs’ actions were adverse. U.S. Mem.

29. Plaintiffs identified no other landowners because there are none. But

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hypothetically, if there were, then Plaintiffs’ actions would have been more than

sufficient to put them on notice and bring them out of the woodwork. So, when the

Defendant identifies no alternative owner of the fee that is subject to the easement,

the Defendant loses faith with the overarching goal of Washington law to cleanly

assign all property to someone.


 A. Recent Washington Supreme Court decisions on potential
    reservations of rights of way and long-standing principles of deed
    construction support partial summary judgment for the Plaintiffs.

   General principles of deed construction apply to both the Roeder and Shorelands

issues. Washington cases instruct that when the parties provide evidence, it shall

be used to construe deeds regardless of whether their terms are deemed clear or

ambiguous. Furthermore, the cases support a finding that the types of evidence

Plaintiffs provide here establish fee ownership of the abutting rights of way.


   1. When construing deeds, courts consider any evidence presented,
      regardless of whether the deed is ambiguous or clear.

   The intent of the parties can be determined from evidence outside the document

being considered:

      Writings are one indication of the parties’ intent, but are not necessarily
      determinative of that intent. Indeed, this is why writings—not contracts—are
      reformed to reflect the true intent of the parties.

Kelley v. Tonda, 393 P.3d 824, 830 (Wash. 2017) (construing a railway deed)

(citations omitted). And this is true regardless of whether the language used in a

deed is deemed clear or ambiguous:

      In Berg v. Hudesman, 115 Wash.2d 657, 801 P.2d 222 (1990), our Supreme
      Court rejected the theory that contract language must be ambiguous before
      evidence of the surrounding circumstances is admissible. Accordingly, we

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      may consider extrinsic evidence to assist us in ascertaining the intent of the
      parties in entering into a contract, regardless of whether the language used
      in the writings is deemed ambiguous.

Kelley, 393 P.3d at 830.


   2. Subsequent actions taken by original grantors and successors in
      interest are relevant to the inquiry of intent.

   After having granted a right of way, actions taken by the original grantors and

their successors in interest constitute relevant, extrinsic evidence for construing

deeds. Specifically, if the grantor of the title burdened by a railway easement never

used the right of way or subsequently took no action to imply ownership, such as

deeding or bequeathing the right of way to successors in interest, the absence of

such evidence is proof that the grantor did not intend to keep the right of way:

      In holding that Kershaw Sunnyside Ranches was the servient property
      owner, the trial court implicitly found that Ora Kershaw did not intend to
      reserve her interest in the railroad right of way and all her interest
      transferred to her son. Here, Level 3 relies on Harris v. Ski Park Farms, Inc.,
      where we held that a similar exception in a deed did operate to reserve the
      grantor's interest in the right of way. 120 Wash.2d 727, 746, 844 P.2d 1006
      (1993). However, Harris contained evidence of the grantor's intent to except
      the right of way not present here, most specifically the grantor's subsequent
      conveyance of the right of way to a third party and the grantor's broker's
      declaration that the grantor intended to reserve its interest in the right of
      way. Id. at 735, 742, 744, 844 P.2d 1006.

Kershaw, 126 P.3d at 25–26 (emphasis added) (footnote omitted).

   The court repeated that it was the lack of any subsequent conveyance that

indicated there was no intent to withhold the right of way.


      [T]here is no evidence in the record that Ora Kershaw intended to reserve
      any interest in the property nor that she later attempted to convey that


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       interest. Recognizing that the trial court found an intent to transfer the
       underlying interest, resolving the apparent ambiguity against the grantor,
       and finding no intent akin to that present in Harris, we hold that Ora
       Kershaw … did not intend to reserve to herself any interest in the railroad
       right of way.

Id. at 26.

   Here, the grantors who first used the metes and bounds language in deeds did

not subsequently convey the right of way (unlike the facts in Roeder), and did not

list it as property in their wills, or in any manner evince any intent to withhold the

right of way from the grant. Ex. 3 ¶¶ 11, 28, and 46. Likewise, following the

partition of the second class shorelands parcels, there is no evidence that parties to

the east of the right of way listed property in their wills or otherwise took action

that indicated they believed they owned the right of way.


   3. Roeder confirms that determining whether a conveyance includes
      the fee underlying a right of way depends on intent of the parties.

   The Court in Roeder recognized the general “centerline presumption” rule

applies to railroad rights of way (i.e., that abutting owners to a railroad easement

are presumed to own to the center line) “unless there is something in a deed or

surrounding circumstances showing an intent to the contrary,” and explained the

policy driving this rule as follows:

       This rule is based on a presumption that the grantor intended to convey such
       fee along with and as a part of the conveyance of the abutting land, generally
       on the theory that the grantor did not intend to retain a narrow strip of land
       which could be of use only to the owner of the adjoining land. The rule is also




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         intended to lessen litigation caused by the existence of narrow strips of land
         distinct in ownership from the adjoining property.

Roeder, 716 P.2d at 861. The court emphasized that the goal is to always determine

the parties’ intent:

         A major concern in examining conveyances of abutting land is, of course, to
         determine the intent of the parties to the deed. When the deed refers to the
         grantor's right of way as a boundary without clearly indicating that the side
         of the right of way is the boundary, it is presumed that the grantor intended
         to convey title to the center of the right of way.

Id.

      Based on the facts of that case, and in the absence of any additional extrinsic

evidence supporting a contrary conclusion, the court in Roeder decided that the

metes and bounds description constituted evidence of intent to exclude the right of

way. Id. at 862. But, as the Defendant recognizes, metes and bounds language is

merely one form of evidence and is not dispositive if any additional evidence is

presented. U.S. Mem. 16 (arguing “without further evidence,” Plaintiffs who have

metes and bounds in their title would lose this issue). Left undisturbed by the

Roeder decision, and in fact reinforced by that decision, is prevailing Washington

law which teaches that courts shall consider all relevant evidence presented as to

the intent of the parties to the conveyance when construing deeds and, if

uncontroverted, may enter judgment as a matter of law.




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 B. The deeds themselves or the circumstances in which they were
    conveyed establish Plaintiffs’ predecessors in interest had no
    intention of retaining the right of way when conveying the adjoining
    lands.

   1. All Plaintiffs with the so-called Roeder issue submit evidence
      establishing they, not others, own the right of way, and some
      Plaintiffs have deeds materially different from the metes and bounds
      in Roeder.

   The Plaintiffs in the Roeder issue group have effectively three sets of

circumstances and will be addressed in the following order: (1) the Spencer, Rossi,

and Brockway Plaintiffs; (2) the Schroeder Plaintiffs; and (3) the Matrinez Plaintiff.

All Plaintiffs in this group have metes and bounds materially different from the

careful metes and bounds found in Roeder as discussed, below, and they all submit

evidence showing that the grantors did not intend to withhold the right-of-way

strips in the grants.


     a. The Spencer, Rossi, and Brockway Plaintiffs.

   The Spencers, Rossis and Brockways (hereinafter, the Spencer Plaintiffs) own

property within an unrecorded plat made by Willis J. Connell, apparently in 1927.

Ex. 3 ¶¶12, 15, 19 (Klinge Decl.). That plat shows distances on the north and south

sides of their lots from Lake Sammamish to the western edge of the railroad right of

way. Ex. 3F. As with the other Plaintiffs moving for partial summary judgment, to

the east of the right of way sits Lake Sammamish Parkway. There are several

reasons why the metes and bounds descriptions in the plat, which were carried into

their deeds, did not fail to convey the fee underlying the full 100 feet of right of way

adjoining their properties.




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   First, the reference to a metes and bounds description for the Spencer Plaintiffs

has a different purpose than what the Court concluded in Roeder. The deeds to the

Spencer Plaintiffs’ properties include a distance to the right of way arising from an

unrecorded plat. Ex. 3 ¶ 10 (Klinge Decl.). Unlike the situation in Roeder, the

reason metes and bounds are placed on the unrecorded plat and carried into deeds

is that the County Treasurer demanded metes and bounds descriptions for

unrecorded plats in order to assess property and enforce assessments. See Ex. 4

¶ 15 (Broadus Decl.). Unrecorded plats have a history of being deemed sufficient for

describing property for purposes of conveyance. Sengfelder v. Hill, 58 P. 250 (Wash.

1899). However, reference to a lot number in an unrecorded plat was insufficient to

confer jurisdiction in a tax foreclosure unless there were metes and bounds to

properly identify to the world the property being foreclosed upon. Napier v. Runkel,

114 P.2d 534 (Wash. 1941). Accordingly, the metes and bounds were intended to

satisfy County rules, not to withhold the right of way in the grant, a fact absent

from Roeder.

   Second, the Spencer Plaintiffs’ deeds did not contain the careful, specific metes

and bounds found in Roeder, which sets them apart from the circumstances in that

case. In Roeder, after reciting a “typical example” which included a call of a

specified number of feet to the “South line of the Railroad right-of-way,” the court

explained the reason why it found the presumption rebutted: ”A boundary falling in

the center of the rights of way is inconsistent with the careful metes and bounds

descriptions in these deeds.” Roeder, 716 P.2d at 861–62 (emphasis added). Under

Washington law, “metes and bounds” refers to lines defined by courses and

distances. Muerling v. Colsen, 39 P. 616 (Wash. 1914). In Roeder, the court



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concluded that a description that provides a definite number of feet to the edge of

the railroad right of way rebutted the presumption that the property included land

beyond the edge and beyond those defined number of feet. Roeder, 716 P.2d at 861.

   Defendant briefly argues that Roeder stands for the proposition that a mere

reference to a direction, without a measured metes and bounds description, rebuts

the centerline presumption. “[E]ven where the deed at issue did not include a strict

metes and bounds description but described the property conveyed as ‘lying

Northerly of the right-of-way,’ the Washington Supreme Court found that the deed

did not convey title to the centerline. Roeder, 716 P.2d at 862 n.27.” U.S. Mem. at

12–13.

   This footnote in Roeder is not as sweeping as Defendant suggests—that any

reference to a geographic direction is sufficient to conclude the grantor was

retaining the right of way. In that footnote, the Court specifically referred to the

situation involving that one deed without a metes and bounds description as calling

for the same result as those that did “under the facts of this case.” Roeder, 716 P.2d

862 n.27. But the Court did not specify any facts of the case that would make its

holding applicable to a deed without a metes and bounds description. Id.

Consequently, there is no way to know to which facts the Court was referring when

it concluded the result would be the same. Thus, the footnote is not useful as

precedent, as it is limited to the unaddressed facts in that case.

   Moreover, subsequent decisions demonstrate that a mere directional reference to

a right of way is insufficient to rebut the presumption. For example, in Northlake

Marine Works, Inc. v. Seattle, the deed referenced property “south of the … right of

way.” 857 P.2d 283, 287 (Wash. App. 1993). After acknowledging Roeder and the



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significance of metes and bounds descriptions therein, the court in Northlake

concluded that there was no metes and bounds description and that the centerline

presumption applied. Id. at 289.

   The rationale for rebutting the presumption that a grantor did not want to

retain a strip of land is even less applicable to the Spencer Plaintiffs. In the

unrecorded plat, the distance is from a fluctuating water boundary—Lake

Sammamish to the railroad right of way—which makes the distance call in the deed

or unrecorded plat far less definite than the careful, specified number of feet which

formed the basis of the Roeder decision. The reason is that boundaries of property

bordered by water move as the water line moves. Hudson House, Inc. v. Rozman,

509 P.2d 992 (Wash. 1973). This is a less than precise description which references

a distance but adds the disclaimer “more or less” rather than the precise

measurement the Court in Roeder found significant. See Ex. 4 ¶¶ 4, 5, 13–15

(Broadus Decl.).

   The Court in Kershaw found a provision ambiguous because the “exception” of a

road could refer to removal of the road from the conveyance or it could “just as

reasonably be interpreted to reference them because of the significant nature of the

easements present.” 126 P.3d at 26. Similarly, while the use of metes and bounds

here is some evidence of intent to exclude the right of way, the “more or less”

reference could just as reasonably be interpreted to simply give notice of the

“significant nature of the easements present” and not to demarcate a precise

boundary. Cf. id.

   Further, ambiguity in a deed is always resolved against the grantor. See

Kershaw, 126 P.3d at 26. The deeds for these Plaintiffs are ambiguous because the



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developer was forced to use the metes and bounds for tax assessor purposes, and the

“more or less” reference adds additional ambiguity. Thus, these ambiguities should

be construed against the grantor and in favor of the Plaintiff grantees. See Id.

   Finally, as with the other Plaintiffs, the evidence establishes that Connell, the

developer and the grantor of the deeds in which the metes and bounds language

was first used, did not take any actions indicating he intended to retain the right of

way. Prior to 1998, he never deeded it to anyone else, Ex. 3, ¶¶ 13, 16, 20 (Klinge

Decl.); it does not show up in his inventory of remaining property in his will, id. at ¶

11; neither he nor any of his successors ever took any action or made any reference

indicating that Connell, or anyone claiming through Connell, owned the right of

way abutting these three Plaintiffs’ properties, id.; see also Ex. 5 (Spencer Decl.),

Ex. 6 (Brockway Decl.), Ex. 7 (Rossi Decl.), and Ex. 8 (McCallum Decl.). Not until

after King County acquired the railroad’s interests in the right of way did anyone

other than Plaintiffs claim ownership.

   Further, Connell likely intended to grant the full right of way, not half, to the

properties in the Spencer Group because the county road was immediately east of

the railroad right of way. It would be nonsensical for a grantor to deed only half of

the right of way to the grantee while the other half was burdened by a county road

easement and had no other land to which it could attach.


     b. The Schroeder Plaintiffs.

   While the Schroeder’s property includes a metes and bounds description, it does

not place the border along the edge of the right of way. Ex. 3 ¶ 43 (Klinge Decl.).

Roeder specifically indicates that for the centerline presumption to be rebutted with

a metes and bounds description, the metes and bounds must describe the property


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as “extend[ing] up to, but … not include[ing] a railroad right of way.” Roeder, 716

P.2d at 861.

   The metes and bounds description for the Schroeder’s deed does not extend up to

the edge of the right of way, but rather beyond its edge. Accordingly, the metes and

bounds description places the Schroeder’s property line within the right of way and

not at its nearest edge. Ex. 3 ¶ 43 (Klinge Decl.). This not only shows they were

granted some of the right of way, but also creates ambiguity which should be

construed in favor of the Schroeders’ claim that they received all of the right of way.

   As with all the other Plaintiffs, there is also no evidence that the prior owner of

the Schroeder property, who used the metes and bounds language for the first time,

intended to keep any portion of the right of way. The prior owner, Anna Johnson,

did not transfer the right of way to anyone else. Ex. 3 ¶ 46 (Klinge Decl.). She never

issued any easements or interests of any kind over the right of way after selling the

Schroeders’ parcel. Id. Nor did she, or anyone asserting rights on her behalf, ever

claim that the Schroeders did not obtain title to the right of way. Ex. 9 ¶ 12

(Schroeder Decl.).


     c. The Matrinez Plaintiff

   Donna Marie Raab Matrinez acquired her property from her parents. Like the

descriptions of the Spencer Plaintiffs’ properties, her deed and the deed to her

parents do not use a carefully defined, exact measurement as in Roeder, but use a

measurement which is only “more or less” from a moving water boundary to the

railroad right of way. Ex. 3 ¶ 32 (Klinge Decl.). This is insufficient to prove that the

precedessor intended to exclude the adjacent right of way when conveying the

property to the Raabs, Ms. Matrinez’s parents. Additionally, there is no evidence


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that a predecesor intended to reserve the right of way for themselves. No one, other

than King County, has ever claimed that the fee underlying the right of way does

not belong to Ms. Matrinez. Ex. 10 (Matrinez Decl.).


      2. The “second class shorelands” grant in the Plaintiffs’ deeds conveyed
         both uplands and the servient estate to the right-of-way easement.

      The origins of the phrase “second class shorelines” which appears in the

remaining Shorelands Plaintiffs’ deeds overwhelmingly establish that these

Plaintiffs and their predecessors received all lands between the lake and the right of

way, as well as fee title underlying the full right of way itself. And the subsequent

actions taken by Plaintiffs and their predecessors, as well as the absence of any

action taken by any third party, confirm this is so. Starting from north to south, the

parcels with the “second class shorelands” grants were conveyed to the Hughes

Estate, Nelson, Freedman, Barrett, and Collins Plaintiffs.9 See Ex. 2, p. 3.

      The deed history for these properties is materially common to all these Plaintiffs

until the mid-1900s where their chains of title diverge. All these properties are in a

single Government section. One lot owned by the Hughes Estate is in Government

Lot 1 and all the other Shorelands Plaintiffs’ properties, including a second lot

owned by the Hughes Estate, are in Government Lot 2. Plaintiffs will address the

properties in the two Government lots separately where they diverge.

      All these Plaintiffs have deeds which reference ownership of “second class

shorelands” which, by definition, would ordinarily mean they are underwater and

adjacent to so-called “uplands,” i.e., dry ground. See, e.g., Albee v. Town of Yarrow

Point, 445 P.2d 340, 343 (Wash. 1968).10 But that is not the case here.

9
    The Hughes Estate owns two parcels, Tax Lots # 9071 and # 9085.
10
     “‘Second-class shorelands’ means the shores of a navigable lake or river belonging to the state,
                                                    19
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        a. As of 1944, the Palmberg heirs, Plaintiffs’ predecessors, owned (1)
           the uplands in Government Lot 1, including the fee underlying the
           right of way, and (2) both the uplands and shorelands in
           Government Lot 2, including the fee underlying the right of way.

      The story of these properties begins in the late 19th century. In 1890, Alfred

Palmberg received a patent from the United States which perfected his claim and

included, among other lands, Government Lots 1 and 2 of Section 20, Township 25

North, Range 6 East. Ex. 3 ¶ 49 (Klinge Decl.). Before then, in 1887, Palmberg had

executed a right-of-way deed to the SLS & E railway company expressly reserving

“[a]ll riparian and water front rights on Lake Sam[m]amish … .” This Court has

determined that Palmberg gave the railroad only an easement. Beres v. United

States. 97 Fed. Cl. 757 (2011), thus reserving the underlying fee title to himself.

      Alfred Palmberg died in 1908, and his wife, Bertha, died in 1918. Before their

deaths, Palmberg deeded a one-acre cut-out parcel in the southeastern corner of

Government Lot 2 to Alonzo Stares (hereinafter “A. Stares Tract”). This conveyance

only matters here to the extent that it affects the disposition of the remaining estate

later, as will be seen.11 When Bertha married Alfred, she already had three

children, and then she and Alfred had three more children. Ex. 3 ¶¶ 49, 55 (Klinge

Decl.). Bertha left all the remaining Palmberg property to her six children. Id.

      Ten years later, in 1928, Alfred Palmberg’s son, Alfred W. Palmberg, sought to

purchase second class shorelands in Government Lot 2 from the State of

Washington.12 As part of that application, a title report (“1928 Title Report”) was


not subject to tidal flow, lying between the line of ordinary high water and the line of navigability,
and more than two miles from the corporate limits of any city.” Wash. Rev. Code § 79.105.060 (17).
11
    None of the properties in this group with the shorelands deeds have A. Stares in their chain of
title.
12
     The Legislature classified shorelands by their proximity to cities. First class shorelands were those
                                                     20
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prepared and submitted to the State. Ex. 3 ¶ 52 (Klinge Decl.). The 1928 Title

Report referenced two parcels, one of which was Parcel B.13 Id. Parcel B was

described as follows: “All of Government Lot 2, EXCEPT [A. Stares Tract] and

except railroad right of way and except County roads.” Id. Thus, Parcel B was all

the land in Government Lot 2 except the A. Stares Lot (since the railroad right of

way and County road references were merely notice of easements and could not

have been meant to exclude them). The Title Report reflects that the owners of

Parcel B were all of Bertha’s six children (three of whom were Alfred Palmberg’s

stepchildren): A. Palmberg, Maude Palmberg, Anna B. Stangroom nee Palmberg,

Bessie Zengel, Gertie Gorman, and Bert Stares as tenants in common.

      The 1928 Title Report confirmed that the heirs owned all of Government Lot 2 to

the Lake (except the A. Stares Tract):

         The records do not disclose the location of the railroad right of way with
         reference to the meander line of the high water line, however, the deed to the
         railroad company of the right of way expressly reserves all riparian and
         water front rights on Lake Sammamish.

Id.

      In this same timeframe, when the State was in the process of selling the

shorelands, the engineer who inspected the site explained that there was a strip of

uplands between the shorelands and the right of way:

         These plats show the railway right of way and the county road right of way
         mentioned in the descriptions and also show that the line of high water is



within a mile of an incorporated city. Davidson v. State, 802 P. 2d 1374, 1376 (Wash. 1991).
13
  Parcel A was also referenced, which was the one acre cut-out previously conveyed to Alonzo
Stares. This is not to be confused with a different Parcel A that shows up later in the story.

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        located outside of the west line of the Northern Pacific right of way, and also
        outside of the government meander line.

Ex. 3 ¶ 52 (Klinge Decl) (emphasis added). The reference to “high water” was to

“ordinary high water” which is the upper limit of the shore lands. Ghione v. State,

175 P.2d 955, 963 (Wash. 1946). Therefore, when the State was selling shoreland to

the Alfred Palmberg heirs, there was some non-shoreland (i.e., uplands) on the west

side of the railroad right of way. Of course, the State could only sell the shorelands.

This strip between the shoreland boundary and the right of way boundary was

already owned by the Palmberg heirs.

     The State of Washington approved the conveyance of second class shorelands

adjacent to the uplands in Government Lot 2 (excepting the A. Stares Tract), full

payment was made in 1940, and the State executed a Deed to the six Palmberg

heirs. Ex. 3 ¶ 52 (Klinge Decl.). The Deed conveyed all second class shore lands: “In

front of [Government] lot 2 … except [the A. Stares Tract].” Id.


      b. In 1945, the Palmberg property was the subject of a partition action
         which used the phrase “second class shorelands” to mean all lands
         from the lake to the east border of the railway, thus including the
         right of way itself.

     Just five years later, in 1945, the family had a dispute and Bert Stares, son of

Bertha Palmberg, sued his five siblings for partition in King County Superior

Court.14 As will be seen, in this partition action, the “second class shorelands”

phrase was used to describe all the Palmberg lands in Government Lot 2 that went

all the way from the lake on the west to the east side of the right of way—i.e., the

“second class shorelands” description included the strip of uplands between the lake

14
  While partition actions pre-date this statute, the 1881 statute governing partitions that applied in
1945 still applies today, found in Wash. Rev. Code § 7.52.010, et seq.

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and the railway, as well as the right of way itself. Initially, the phrase was used in

the description of a parcel of land (called Parcel B) that included the lands to the

east as well as the “second class shorelands.” But as will also be seen, later Parcel B

was split in the partition proceedings and, in that split, all lands east of the right of

way were referred to in the partition proceedings as Parcel B, and the remaining

part—the right of way, the uplands, and the shorelands, continued to be referred to

as “second class shorelands.”

     The complaint for the partition filed by Bert Stares in late 1945 described three

discrete parcels for partition: Parcels A, B, and C.15 Parcel A is not the same “Parcel

A,” that concerned Alonzo Stares previously, but instead referred to Government

Lot 1, which includes Plaintiff Hughes Estate’s parcel, discussed in more detail

below. Meanwhile, Parcel B included the description of the second class shorelands

adjoining and abutting Parcel B, germane to the merits of the five properties in

Government Lot 2.

     The complaint described Parcel B as including the second class shorelands which

were themselves described as “adjoining” the east side of the railroad right of way.

In other words, the shorelands included the right of way itself:

        Beginning at the northeast corner of said Government Lot 2; thence south
        along the east line thereof, 569.64 feet; thence west 221.58 feet; thence
        southwesterly at right angles to the right of way [of the railroad] 15.3 feet to
        the northeasterly line of said right of way; thence northwesterly along said
        northeasterly line to the north line of said Government Lot 2; thence east



15
  Parcel A was in Government Lot 1 and relates to the Hughes Estate, the northernmost property.
See infra at 24 for separate discussion of title chain for this property. Parcel C described an area south
of the A. Stares Tract, which land was subsequently removed from the suit, and in any case is not
germane to the Plaintiffs with deeds referencing the shorelands.

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      along said north line to the point of beginning; TOGETHER WITH second
      class shore lands adjoining, EXCEPT County Road.

Ex. 3 ¶ 53 (Klinge Decl.) (emphasis added); see also Ex. 3-VVV (light gray area).

Hence, in the context of this description of the land under the jurisdiction of the

Washington Superior Court in this partition action, the phrase “second class shore

lands,” while techinically a misnomer, became the shorthand description of all the

land southwesterly of the easterly line of the railroad right of way—namely, from

west to east, the shorelands, strip of uplands, and the right of way itself.

   A year later, in late 1946, a title company examined the same three parcels

described in the complaint and filed a title report (“the 1946 Title Report”). Id. at ¶¶

54–55. The 1946 Title Report concluded that as a result of the tax foreclosure sale,

(1) Parcel B, except second class shorelands, was vested in the Stangrooms; and

(2) the second class shore lands adjoining Parcels B and C were vested as one-sixth

interests in each of Bertha Palmberg’s children or their estates: the heirs of Alfred

W. Palmberg (the son), Maude Palmberg, Annie Stangroom, Gertie Gorman, Bert

Stares and the heirs of Bessie Zengel.


     c. The partition action resulted in the sale of the “second class
        shorelands” to Plaintiffs’ predecessors in title, in which sale the
        shorelands continued to be treated as including all lands to the
        eastern edge of, and therefore including, the right of way.

   The partition court commenced trial and entered findings of fact and conclusions

of law in early 1949. Ex. 3 ¶ 56 (Klinge Decl.). The court found that the Stangrooms

acquired the Parcel B property (which now excluded the so-called shorelands all the




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way to the eastern side of the right of way). Id. The Court ordered the sale of Parcel

A, and the second class shorelands adjoining Stangroom’s Parcel B.16 Id.

     Subsequently, following the referee notice of sale, the referee’s return of sale

concluded that J.J. Simpson was the winning bidder for Parcel A (all of Government

Lot 1 owned by the Palmberg heirs) at $7,500, and that J.A. Earley was the winning

bidder of the second class shorelands adjoining the former Parcel B (in Government

Lot 2) and Parcel C combined at $6,600. The court confirmed the referee’s sale. Id.

at ¶ 57. Simpson is the predecessor in interst to the one property owned by the

Hughes Estate Plaintiff in Government Lot 1 (Lot # 9071), and Earley is the

predecessor in interest to the remaining Shorelands Plaintiffs—Hughes Estate,

Freedman, Barrett, and Collins (Lot #9028), in Government Lot 2.


      d. The subsequent history of these properties shows the Shoreland
         Plaintiffs received and retained, through their titles, fee interest in
         lands nicknamed “second class shorelands”—i.e., the shorelands,
         uplands, and right of way.

        (i)   The Hugheses received and retained all lands in the partition action in
              Government Lot 1 except for the part later deeded east of the right of way.

     The Hughes Estate owns the right of way because it acquired all the land owned

by Palmberg in Government Lot 1, as well as the later-purchased shorelands. In the




16
   The referee’s sale of real estate (somewhat confusingly) used the phrase “Parcel B” to describe the
sale of “The second class shorelands adjoining the following described property . . .” and then
described that adjoining land which had previously been labeled Parcel “B” in the partition
proceedings. No matter. The referee’s new moniker, “Parcel B,” necessarily excluded the portion
which was quieted in the Stangrooms and necessarily included the remaining Palmberg-heirs land in
Government Lot 2, referred to as the so-called shorelands that had been excluded in the title quieted
in the Stangrooms.

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partition action, J.J. Simpson bought Parcel A and, later, Gertie Hughes (who

subsequently bought Parcel A from Simpson), bought the shorelands from the State.

     The purpose of the partition action was to allocate to the six Palmberg heirs the

property owned by Bertha Palmberg. Parcel A was the property in Government Lot

1 and must have included all the land Palmberg owned in Government Lot 1,

including the fee underlying the right of way. Nonetheless, the deed Simpson

received from the partition sale described the property as follows:

        Beginning at a point on the north line of Government Lot 1, 630 feet east of
        the northwest corner thereof; thence south 900 feet; thence southwesterly at
        right angles to the right of way of the Northern Pacific Railway Company
        (formerly Seattle and International Railway) to the northeasterly line of the
        said right of way; thence southeasterly along said northeasterly line to the
        south line of said Government Lot 1...; EXCEPT County Road.

Ex. 3 ¶ 68 (Klinge Decl.) (emphasis added).17 In using the “northeasterly line of the

said right of way,” the court must have been rotely using the same concept as had

been used for Parcel B—albeit with less specificity. This is so because in Parcel A,

at the time of the partition, there was not yet any ownership by Palmberg or the

heirs in the shorelands, and the sale to J.J. Simpson was intended to dispose of all

the estate in Government Lot 1 (which included the right of way). Accordingly, the

sale to Simpson had to include the entire right of way in Government Lot 1. This

was in contrast to Parcel B, where the heirs did own the shorelands, and where the

partition split the property in two. Moreover, the subsequent history further

establishes that Simpson got all of Government Lot 1, including the uplands and

right of way.

17
  The deed to Simpson is different from the deed to Stangroom in that it does not use a metes and
bounds description to describe the edge of the right of way as a property boundary. No distance to
the right of way is provided.

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   Shortly after he purchased Parcel A in the partition sale, Simpson conveyed

Parcel A to Gertie Gorman Hughes, Alfred Palmberg’s step-daughter. Ex. 3 ¶ 69

(Klinge Decl.). While Gertie was buying the property, she sought to purchase the

adjoining shorelands from the State. Id. at ¶ 70. Simpson, then still owner of the

uplands, waived his right to purchase the shorelands, and the State sold them to

Gertie. Id. The State described the “second class shorelands” as being adjacent to

the Parcel A that Simpson had bought in the partition action and subsequently

conveyed to Gertie Hughes. Id. The railroad right of way had to be included within

Parcel A because the owner of Parcel A was the one who had the preference right to

purchase the adjoining shorelands. If Simpson had not purchased the entirety of the

uplands, including the fee underlying the right of way, he would not have been

treated by the State as the upland owner.

   After purchasing shorelands from the state and the remaining lands from

Simpson, Gertie Hughes owned both sides of the railroad right of way. When she

sold the “second class shorelands” to her son and daughter in law, William and

Betty Hughes, she used the same language consistent with the treatment of Parcel

B in the partition action, which included any uplands west of the right of way and

the right of way itself. Ex. 3 –WW and ¶ 71. Gertie also sold a portion of

Government Lot 1 to her grandson and daugher in law, William and Peggy Hughes,

but this sale did not include any of the right of way. Ex. 3 –XX, YY and ¶ 72 (Klinge

Decl.) In 1989, William and Betty Hughes sold the remainder of Parcel A to a third-

party, Kao.

   The deed to Kao described the property sold as extending only as far as “the

northeasterly line of Issaquah-Redmond county road” and then along that road,



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which lies east of the railroad right of way. (Ex. 3-DDD and Ex. 3-AAA (Klinge

Decl.). The rest of the Hughes Estate—the so-called “second class shorelands” and

the right of way itself—remained with the Plaintiff Hughes Estate as is evinced

both through the history of the use of the phrase “second class shorelands” in this

area, as well as the subsequent actions taken by all parties involved.

   Therefore, the Hughes Estate owns the full right of way underlying the right of

way in Government Lot 1 that abuts their property, not simply because there is a

“second class shoreland” deed which was used in the neighboring lot among various

Palmberg family members and sucessors as the moniker for all lands to the east

border of the right of way, but because the subsequent conveyance by the Hughes

family to Kao, and all actions taken thereafter, see Ex. 11 (Hughes Decl.), make

clear that the right of way and shorelands were intended to remain with the

Hughes family.


      (ii) The rest of the Plaintiffs, in Government Lot 2, trace their ownership of
           the right of way back to Earley, who purchased the “second class
           shorelands” – i.e., the shorelands, uplands, and right of way – in the
           partition action.

   In the partition action, J. A. Earley bought all of the “second class shorelands”

adjoining the uplands in Government Lot 2 that had not been previously sold to A.

Stares many years before. (Ex. 3 ¶¶ 57-58 (Klinge Decl.). The court specifically

approved of the deed to Earley and that deed used the identical language used

during the partition action, wherein Earley received all second class shorelands

described as running up to the northeasterly edge of the railroad right of way. To

put it differently, if the partition action did not include the right of way in the deed

to Earley, then the Court failed to accomplish the whole purpose of the partition


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action—to divide assets among heirs. Hence, the only rational interpretation of the

shoreland deed to Earley, and the recognition of Stangroom’s ownership to a

definite number of feet to the northeasterly line of the right of way, is that the deed

to Earley included the right of way.18

     Accordingly, the Plaintiffs in Government Lot 2 (successors of Rose A. Earley,

the widow of J.A. Earley), received title to the right of way in their deeds which

used the catch-all phrase, “second class shorelands” or “shorelands of the second

class” (See subsequent conveyances as outlined in Ex. 3 ¶¶ 61-66 (Klinge Decl.); Ex.

13 ¶ 4 (Orrico Decl.).


        (iii) Additional evidence confirms title in the right of way had transferred to
              Plaintiffs’ predecessors and to Plaintiffs themselves.

     As to Government Lot 1, all lands went to the Palmberg heirs and, subsequently,

were retained by the Hughes family when selling the lands east of the Parkway to

Kao.

     As to Government Lot 2, the only other possible owner of the right of way would

have been Stangroom but not only do the above facts speak for themselves that

Stangroom didn’t get the right of way, the subsequent history shows neither

Stangroom nor their successors did anything to suggest they owned it. After the

partition was completed, the Stangroom Parcel B (east of the right of way) was not

conveyed until the Estate of Annie Bertha Stangroom granted that same parcel in

its entirety to Byco Inc. by Deed. Ex. 3 ¶ 56 n.11 (Klinge Decl.).



18
   If the deed to Earley did not include the right of way, then Earley would have no access from the
only road which was on the east side of the right of way. It would be a truly odd result for the Court
to authorize the sale of land to Earley that had no access to the only road which is separated from
the Earley property by the railroad right of way, which was not transferred to anyone else.

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   Additionally the price Earley paid for so-called “shorelands” in the partition

action shows that everyone involved understood that the shorelands included more

land than merely the submerged lands. Shorelands then were sold by a price per

length of shoreline, and not per square foot, measured in “chains”—a length of 66

feet. Gertie Hughes paid only $50/chain for the actual shorelands she bought from

the State, but Earley paid $421.25/chain in the partition action. (Ex. 3 ¶ 57 n.9

(Klinge Decl.)). The fact that Earley paid over 8 times the price of so-called

“shorelands” strongly suggests that Earley was buying more than land that was

entirely underwater.

   Further, in 1982, the King County Assessor caught the misnomer “shorelands”

and corrected it for the purposes of assessing property taxes. The assessor wrote to

Mr. William Hughes, predecessor to the Hughes Estate to explain that the Hughes

property was being assessed for uplands despite his deed only referencing

shorelands; this was so because Mr. Hughes’ estate abutted the former Stangroom

tract which had the easterly line as its border:

      Mr. Hughes [sic] property was described only as shore lands adjoin[ing] a
      tract of land in gov’t lot 2 of the section. The westerly line of the tract ran a
      course that was probably once the easterly line of the right-of-way. …

      Judging from similar descriptions in the area, our feeling was that the shore
      line and the railroad right-of-way was assumed to be the same during the
      early years of property development along the shore of the lake. With that
      assumption in mind, we changed the adjoining property owner’s tax
      description to describe the strip when it appeared that assumption best
      described the situation.

Ex. 3 ¶ 64 (Klinge Decl.) (emphases added).




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      In other words, the County Assessor’s conclusion was that Mr. Hughes and other

“shore land” owners were in fact the owners of not only the uplands west of the

right of way—and were to be assessed property taxes for lands that had previously

not been recognized as being uplands—but that their ownership of the “shorelands”

included the right-of-way which were “assumed to be the same [as the shorelands]

during the early years of property development.” This conclusion is, of course,

consistent with the history of the Bert Stares suit and the partition proceedings

where the catch-all phrase “second class shorelands” included all lands from the

lake to the easterly line of the railroad right of way.19

      And finally, as detailed below, all the Plaintiffs in this group as well as their

predecessors, consistently treated the right of way as their own and no one who

could possibly have standing to suggest otherwise ever suggested to the contrary.


II.      If Their Title Failed to Convey the Fee Interests Underlying the
         Right of Way, then Plaintiffs or Their Predecessors Adversely
         Possessed the Fee Title Subject to the Railroad Easements Before
         September 18, 1998.

      Arguing that Plaintiffs would be unable to adversely possess the right of way

segments at issue here because the possession would (1) interfere with federal

control of railroad operations and (2) unlawfully result in the adverse possession of

a reversionary interest (U.S. Mem. at 2–3; 21–30), the Defendant fails to realize or

acknowledge that each of the predicates upon which it relies is false. First, private

ownership (whether through adverse possession or by title) has not and will not

interfere with federal control of railroad operations. Second, the fee title at issue is


19
  Plaintiffs started being assessed for property taxes around this same time frame. See Ex. 12
(Hughes Decl.).

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burdened by a common law easement and, as such, is not a “reversionary interest or

a remainder interest” (U.S. Mem. at 2.), in the classic sense, and the case on which

Defendant relies involves a public easement which cannot be used adversely. This is

in direct contrast to a railroad easement, where the fee title can be adversely

possessed under Washington law.

   Below, Plaintiffs contend that in the unlikely event their title failed to convey

ownership underlying the railroad right of way, then the circumstances show they

are entitled to partial summary judgment on the alternative basis that they or their

predecessors adversely possessed the right of way.


 A. The ICCTA does not preempt adverse possession of the underlying fee
    title to property that is burdened by a railroad easement if the
    adverse possession has no impact on and does not interfere with
    railroad operations or the STB’s regulatory authority over the
    corridor at issue.

   Predicated on a series of decisions and cases that hold that a party cannot

adversely possess a railroad corridor because that would result in interference with

the strong federal policy of retaining rail property under federal control, the

Defendant reasons that the I.C.C. Termination Act of 1995 (ICCTA) preempts

Plaintiffs’ adverse possession claims. (U.S. Mem. §II.A.1; see also id. at 26 (arguing

the Court should rule the ICCTA preempts Plaintiffs’ claim “because Plaintiffs’

adverse possession of portions of the right-of-way would prevent BNSF ... from

reactivating the line and conducting future rail operations, thereby carving strips of

the right-of-way out of the national rail system.”).) The argument fails at the outset

because Plaintiffs’ ownership of the fee title underlying the right-of-way easement—

whether by title or through adverse possession—manifestly has not, does not, and



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will not interfere with the federal government’s control over this right of way.

Nevertheless, we address the argument as presented.

   The Defendant cites four cases and one STB decision finding that either adverse

possession, or local government condemnation actions, were preempted by the

ICCTA. As to the first, Union Pac. R. Co. v. Chicago Transit Auth., 647 F.3d 675

(7th Cir. 2011), the Defendant aptly describes the holding as finding preemption

because the condemnation action “would unreasonably interfere with transportation

on the rail right-of-way.” (U.S. Mem. at 23.)

   In the second, B & S Holdings, LLC v. BNSF Ry. Co., 889 F. Supp. 2d 1252 (E.D.

Wash. 2012), the district court adopted the STB’s test for determining whether a

state law is preempted under Jie Ao and Xin Zhou—Petition for Declaratory Order,

FD 34439, 2012 WL 2047726 (STB served June 6, 2012), cited by the Defendant in

U.S. Mem. at 24. Both the STB order and the district court decision found adverse

possession claims were preempted because they would “permanently strip the

railroads of the real property they rely upon to engage in interstate commerce and

conduct their business.” See B & S Holdings, 889 F. Supp. 2d at 1257–58; see also

Jie Ao and Xin Zhou, 2012 WL 2047726, at *7 (holding permitting adverse

possession “would allow landowners to carve off strips of railroad ROW all over the

country.”).

   The third case, Buffalo Southern Railroad Inc. v. Village of Croton-on-Hudson,

434 F. Supp.2d 241 (S.D.N.Y. 2006), involved a municipality’s direct attempt to

control railroad operations at a particular site and to condemn that site and acquire

fee simple title. These efforts were clearly designed to interfere with railroad

operations. Similarly, in the fourth case, Wisconsin Cent. Ltd. v. City of Marshfield,



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160 F. Supp. 2d 1009, 1013–14 (W.D. Wis. 2000), the court found that a local

government’s condemnation action was preempted because it sought to control

railroad operations and essentially prohibit the operations in a particular location.

   The conclusions in each of these cases should not be divorced from the reasoning:

adverse possession is not permitted if it prevents or interferes with federally-

regulated interstate corridors. That is not the case here. Washington recognizes

that one can acquire fee title via adverse possession while the property adversely

possessed remains subject to any preexisting easements. Earnheart v. Carlson, 736

P.2d 1106, 1108 (Wash. App. 1987). Even if Plaintiffs’ ownership of the fee interest

via title were hypothetically invalid and Plaintiffs’ ownership depends instead on

adverse possession, the property remains subject to preexisting easements and their

ownership presents no impediment to federal control. Accordingly, any claims for

adverse possession of the underlying fee here should not be preempted by federal

law: “state and local actions would not be preempted on their face as long as they

did not prevent or unreasonably interfere with rail transportation.” B & S Holdings,

889 F. Supp. 2d at 1258.

   A thorough analysis of preemption by the ICCTA to further assist in this

analysis can be found in Franks Inv. Co. LLC v. Union Pac. R. Co., 593 F.3d 404

(5th Cir. 2010). The court explained that federal statutory preemption begins with

Congressional purpose, and that while the ICCTA prevents state law from

interfering with federally-regulated interstate corridors, it does and cannot go

beyond this purpose. Additionally, the court noted there is a presumption against

preemption applicable to “‘areas of law traditionally reserved to the states, like

police powers and property law ….’” Id. at 407 (emphasis added) (quoting In re



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Davis, 170 F.3d 475, 481 (5th Cir. 1999)). Ultimately, “only laws that have the effect

of managing or governing rail transportation will be expressly preempted.” Id. at

410.

      In conclusion, Plaintiffs are claiming title to land which they acquired via

adverse possession if their deeds were for any reason ineffective to convey land

under the right of way. Critically, Plaintiffs do not claim that they adversely

possessed as against the railroad and its easement, but rather that they adversely

possessed as against any theoretical underlying fee owner. If Plaintiffs acquired

title to land via adverse possession, that title remained subject to a railroad

easement, remains subject to an easement for trail use, and remains subject to

reinstitution of railroad use. Therefore, Plaintiffs’ adverse possession claims in no

way interfere with rail transportation or with federal powers to maintain interstate

corridors. Accordingly, the Defendant’s preemption argument should be rejected.


     B. Plaintiffs’ claims that they own the land underlying the railroad right-
        of-way easement is not barred by Washington law concerning adverse
        possession claims against a municipality.20

      As a preliminary matter, Defendant’s effort at treading old ground to object to

Plaintiffs pursuing ownership via adverse possession—“Notwithstanding the

Court’s lack of jurisdiction to entertain unperfected adverse possession claims” (U.S.

Mem. at 22)—should be dismissed summarily not only because it’s an undeveloped

objection, but because it is meritless. The “jurisdiction” objection fails to come to

grips with established precedent that, if the question of title is in dispute, the Court

of Federal Claims is the appropriate forum to determine whether the plaintiff held a

20
  In this section, Plaintiffs assume, arguendo, that they are not owners of the fee title to the right of
way by way of title, and for this reason present their arguments concerning adverse possession.

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property interest when a plaintiff is seeking just compensation for the taking of

private property by the United States.

   And the “unperfected” argument (raised in its prior briefing on jurisdiction, see

Dkt. 205, at 7), flies in the face of ubiquitous Washington law where the notion of

“perfecting” title against third parties in this context is inapt: once the requisite

elements of adverse possession are met in Washington State (as in most states),

title is perfected—no court proceeding is required—and the land belongs to the

adverse possessor. See El Cerrito, Inc. v. Ryndak, 376 P.2d 528, 533 (Wash. 1962)

(“Once a person has title (which was acquired by him or his predecessor by adverse

possession), the ten-year statute of limitations does not require that the property be

continuously held in an adverse manner up to the time his title is quieted in a

lawsuit. He may bring his action at any time after possession has been held

adversely for ten years.”); Gorman v. City of Woodinville, 283 P.3d 1082, 1083

(Wash. 2012) (citing El Cerrito, 376 P.2d at 533) (“Title vests automatically in the

adverse possessor if all the elements are fulfilled throughout the statutory period”)

(emphasis added).

   As to the merits, Defendant argues that under Washington law Plaintiffs cannot

adversely possess against the owners of “reversionary interests” (U.S. Mem. §IIC),

or “a remainder interest until the future interest becomes a vested interest.” (Id. at

2.) The argument fails because it misunderstands Washington state law, primarily

through misusing Kiely v. Graves, 271 P.3d 226, 230-31 (Wash. 2012). A complete

reading of the Washington Supreme Court’s Kiely decision demonstrates the




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Defendant’s argument is erroneous both on the law and the premise on which its

argument is made.

   In Kiely, the owners of property adjacent to an alley attempted to claim that they

had adversely possessed the alleyway. Based on longstanding Washington law, the

court reiterated that one cannot adversely possess against property held by a

municipality for public purposes, as was the case with the easement in the alley at

issue in Kiely. Id. at 935-37. The court also found that under the circumstances the

person attempting to gain adverse possession could not obtain title against the

owner of the underlying fee, subject to the easement in the alley. The Court

explained the Washington law on public easements.

      [F]ee interests subject to public easements may be considered “mere future
      expectancies, ‘bereft of enjoyment and incapable of pecuniary advantage.’ ”
      Mall, Inc. v. City of Seattle, 739 P.2d 668 (1987). We further stated,
      “Landowners with property abutting dedicated streets hold a reversionary fee
      interest to the center line of the street.” Id. (citing Roeder Co. v. Burlington
      N., Inc., 716 P.2d 855 (1986); RCW 35.79.040). An adverse possession claim
      cannot be asserted against a reversionary interest or a remainder interest
      until the future interest becomes a vested interest.
Id. at 233 (some citations omitted). There are four reasons why this language from

Kiely does not prohibit the adverse possession claims made by Plaintiffs.

   First, the fee interest in a public easement for an alley or road was considered by the

court to be completely “bereft of [present] enjoyment.” Id. at 233. In regard to public

streets, “the fee owner cannot use the property for private purposes without a special

permit.” Mall, Inc., 739 P.2d at 675, cited in Kiely, 271 P.3d at 233 (emphasis added).




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   This is not true for railroad easements as has been explained by the Washington

Supreme Court when landowners sued to restrain the railroad from interfering with

their use of land on the right of way:

      The railroad contends … that a railroad right-of-way, whether in fee or an
      easement, is entitled to exclusive possession.....

      However, we must look to the actual use being made of this easement in light
      of the rule that the servient owner retains the use of an easement so long as
      that use does not materially interfere with the use by the holder of the
      easement. That principle is well established.

Veach v. Culp, 599 P.2d 526, 528 (Wash. 1979) (emphasis added) (citations omitted).

   In Veach, the Court reasoned that the railroad use was minimal in that case and

that the landowners were permitted to use the right of way so long as it did not

materially interfere with the railroad’s operations. Id. (explaining “the average use

by the railroad of this disputed track area would be approximately 1 hour and 15

minutes during the weekends and then only during the summer.”)

   Similarly, in the ten years between 1988 and 1998 here, the railroad made

minimal use of the right of way. (Ex. 9 ¶ 14 (Schroeder Decl.)). As owners of the fee,

the holder of the subservient estate was entitled to use the right of way in any way

which did not materially interfere with the railroad’s use thereof—i.e, the rail line

could not be blocked. This is in stark contrast to streets, alleys and highways, where

the exclusive-use nature of the interest drove the Kiely analysis. This renders the

analysis from Kiely inapplicable to railroad right of ways.

   Additionally, while not at issue here but illustrative of how railroad rights of

way are treated differently from public streets and alleys such as in Kiely,

Washington law allows for adverse possession of railroad property. Netherlands



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American Mortg. Bank v. Eastern Ry. & Lumber Co.252 P. 916, 917 (Wash. 1927).

This shows Washington treats railroad corridors as private property/thoroughfares

for purposes of property ownership under Washington law, and not as public

property or public thoroughfares.

   Second, Kiely explains the whole case turns on the construction of Wash. Rev.

Code § 7.28.090, which prohibits adverse possession of land which the government

holds for public purposes:

      This case hinges on whether an easement dedicated for a public thoroughfare
      constitutes “lands held for any public purpose” under RCW 7.28.090. We hold
      it does.

      Initially, it is significant to note that one clause of RCW 7.28.090 prohibits
      adverse possession of government owned property and another clause
      disallows adverse possession of “lands held for any public purpose.” In State
      v. Lundquist, 60 Wash. 2d 397, 403, 374 P.2d 246 [,249] (1962), the court
      noted, “A legislative body is presumed not to have used superfluous words.”
      Therefore, we must give meaning to the “lands held for any public purpose”
      clause distinct from ownership. The legislature must have intended the clause
      to refer to land held by the government in something less than fee simple. An
      easement logically would be such a property interest.

271 P.3d at 232 (emphasis added).

   The Court in Kiely recognized that “property” included a broad number of rights

and implicitly concluded that “land” as used in the statute was similarly broad.

Kiely, 271 P.3d at 232 (“When the public holds an easement, the ‘lands held for any

public purpose’ prong of RCW 7.28.090 is satisfied, barring adverse possession

claims against that property.”) (emphasis added). Hence, the land burdened by a

public easement includes the fee, as long as the easement remains, and constitutes

land held for a public purpose. Pursuant to the statute, then, adverse possession


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cannot apply to government-held land for public purposes, regardless of which

interest in that land is at issue.

   Here, a private company railroad, and not the local government, owns the

easement, making Kiely’s holding and analysis in support of that holding

inapplicable to the issue of adverse possession of the subject properties.

   Third, and related to the second point, the description of the interest underlying

a street as a reversionary interest is more appropriate for a government-owned

alleys, streets and highways than for a railroad easement because the interest in

the fee underlying the railroad easement is not a reversionary interest in the

classical sense. Reversionary interests are those which include no present rights to

use the property (such as in Kiely), but rather rights that may come into existence

based on future events. E.g. Preseault v. United States, 100 F.3d 1525, 1533-34

(Fed. Cir. 1996) (“Under traditional common law estates terminology, a ‘reversion’ is

a future interest remaining in the transferor following the conveyance of certain

lesser estates to a transferee, typically when the transferee takes a possessory

estate of freehold, for example a life estate. An easement is not such a possessory

estate of freehold.”).

   With alleys, streets and highways, the underlying property owner has no present

right to use the right of way for private use. Kiely, 271 P.3d. at 234. Because the fee

owner has no rights to use any part of the property in the street or alley as long as

the easement remains, it is more like a classic reversionary interest. In the case of a

railroad easement the fee owner retains right to use, which makes it different from

a reversionary interest. See Veach, 599 P.2d at 528.




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   Fourth, and analogous to the reversionary-interest / easement-interest

dichotomy, because the underlying fee owner can make no use of the area burdened

by a public street, therefore making the interest more akin to a reversionary

interest with no present rights to use the property, that owner of the underlying fee

has no reason to be on notice of the unauthorized use or possession of a property.

That is clearly not the case here. Purported third-party underlying fee owners were

free to possess and use their present interest in the servient estate in any way that

did not interfere with the railroad’s use of the easement for railroad purposes. Id.

But as shown below, this they did not do and instead did nothing when Plaintiffs

were able (and did) adversely possess through their open and notorious occupation

of the subject properties.

   For the reasons under this fourth point, the concerns of the court in Kiely do not

apply in the present case. As Kiely explained, adverse possession was impermissible

under the circumstances specifically because encroachment on the public easement

was prohibited as an interference with the public’s rights:

      It is ultimately not possible to separate the adverse possession of the Graves
      fee simple interest from the encroachment upon the public easement.
      Because it is not permissible to encroach upon a public easement, it is not
      permissible to adversely possess the underlying fee interest. … To decide
      otherwise would encourage encroachments upon public easements and hinder
      public use.”

Kiely, 271 P.3 at 234 (citing Baxter-Wyckoff Co. v. City of Seattle, 408 P.2d 1012,

1015 (Wash. 1965) (city power over use of public streets is exclusive)). Obviously, a

busy railroad thoroughfare may as a practical matter limit the uses or extent of

uses the owner of the fee can undertake without interfering with the easement.

Here, in contrast, the relatively sporadic use of the rail line is not inconsistent with

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servient estate owners freely using the area subject to the easement so long as not

interfering with railroad operations. Veach, 599 P.2d at 528.

   In conclusion, none of the concerns addressed in Kiely apply here, and the

reasons for why they do not apply support the conclusion that there is no bar under

Washington law to adversely possessing the servient estate of a property burdened

by a railroad easement.


 C. Plaintiffs obtained fee title underlying the easement pursuant to
    adverse possession if they did not acquire the property pursuant to
    their deeds.

   Plaintiffs seek partial summary judgment that they obtained title as of

September 18, 1998, to the underlying fee, subject to the railroad easement, via

adverse possession if for any reason their deeds are defective. Below, Plaintiffs

review applicable Washington law on adverse possession and next present their

evidence to establish their prima facie case that they have title to the subject

property via adverse possession.


   1. Washington State law on adverse possession

   In order to establish a claim of adverse possession, there must be possession that

is (1) open and notorious, (2) actual and uninterrupted, (3) exclusive, and (4) hostile

to the record owner. ITT Rayonier, Inc. v. Bell, 774 P.2d 6, 8 (Wash. 1989) (citing

Chaplin v. Sanders, 676 P.2d 431, 434 (Wash. 1984)). Each of these four elements

must be concurrently present before the statutorily prescribed period of 10 years

begins to run. Wash. Rev. Code § 4.16.020.

   The following excerpts capture the application of the rules governing adverse

possession under Washington law:


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      The essence of adverse possession is just that-possession which is adverse. It
      therefore is not possession which must be within the knowledge of the record
      owner. It is possession which is adverse and contrary to the claims of the
      record owner. “The ultimate test is the exercise of dominion over the land in a
      manner consistent with actions a true owner would take.”

Doyle v. Hicks, 897 P.2d 420, 422 (Wash. App. 1995) (emphasis added) (citation

omitted).

      In determining what acts are sufficiently open and notorious to manifest to
      others a claim to land, the character of the land must be considered. "The
      necessary use and occupancy need only be of the character that a true owner
      would assert in view of its nature and location.”

Chaplin v. Sanders, 676 P.2d at 437 (Wash. 1984) (citation omitted).

      The nature of possession and attendant acts necessary to constitute adverse
      use as to a residential parcel or property are deemed sufficient if a person
      pleading the statute takes and maintains such possession and exercises such
      open dominion [a]s ordinarily marks the conduct of owners in general, in
      holding, managing, and caring for property of like nature and condition.”

      In other words, in determining whether the use and occupation of claimed
      lands has been sufficient to support title based on adverse possession, the
      character of the land should be considered. The necessary use and occupancy
      need only be of the character that a true owner would assert in view of its
      nature and location.

Krona v. Brett, 433 P.2d 858, 861 (Wash. 1967) (citations omitted).


    a. Element one: open and notorious use

   Possession is open and notorious if a claimant can show either that “(1) that the

title owner had actual notice of the adverse use throughout the statutory period, or

(2) that the claimant used the land such that any reasonable person would have

thought he owned it.” Riley v. Andres, 27 P.3d 618, 621 (Wash. App. 2001) (citation


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omitted). Thus actual knowledge on the part of the title-owner is not necessary so

long as the use is open and notorious. See Doyle, 897 P.2d at 423; see also Hovila v.

Bartek, 292 P.2d 877, 879 (Wash. 1956) (“[I]f the use of another's land is open,

notorious and adverse, the law presumes knowledge or notice in so far as the owner

is concerned.”) Here, of course, Plaintiffs maintain they are the true owners,

rendering the first option impossible—to Plaintiffs’ knowledge there were no

theoretical title owners to have actual notice of the adverse use. For this reason all

Plaintiffs rely on the second prong to show they used the land such that any

reasonable person would have thought these Plaintiffs owned it.

   In Riley v. Andres, the Court of Appeals found that lawn and yard maintenance

activities on the land claimed was enough to establish the open and notorious

requirement of adverse possession:

      Planting trees without maintaining or cultivating them is not open and
      notorious use. [] But, according to the Rileys, they did more than plant trees
      and shrubs. After planting several rhododendrons and other bushes in 1968,
      the Rileys maintained the landscaping on the strip, at least until 1993. They
      watered and pruned the plants, spread beauty bark, and pulled weeds. And a
      party who claims by adverse possession must show that its use is that of a
      true owner, given the lands' nature and location. [] Here, landscaping was the
      typical use for land of this character.

27 P.2d at 621 (emphasis added) (internal citations omitted). The court in Riley was

following the similar holding in Chaplin, where the Washington State Supreme

Court found that “consistently maintain[ing] and mow[ing]” a parcel claimed for

adverse possession was enough to satisfy the open and notorious requirement.

Chaplin, 676 P.2d at 437.




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   Altogether, “in determining what acts are sufficiently open and notorious to

manifest to others a claim to land, the character of the land must be considered.” Id.

(citing Krona, 433 P.2d 858). “The necessary use and occupancy need only be of the

character that a true owner would assert in view of its nature and location.”

Chaplin, 676 P.2d at 437 (emphasis in original) (citing Krona, 433 P.2d at 861).


     b. Element two: actual and uninterrupted possession

   The general test for actual and uninterrupted possession overlaps with the open

and notorious element of the test. See Washington Practice: Adverse Possession and

Related Doctrines—Actual possession—Principles § 8.9 (2012); see also Chaplin, 676

P.2d at 437. As such, “‘[u]ninterrupted’ obviously does not mean literally that the

adverse possessor must be bodily on the land every minute of the statutory period”

or that “he has to have permanent, visible objects there all that time.” Id. Rather,

actual and uninterrupted possession is found when the claimant acts in the same

manner that the true owner would. Id.; see also Howard v. Kunto, 477 P.2d 210, 213

(Wash. App. 1970), overruled on other grounds by, Chaplin, 433 P.2d 858 (seasonal

use of summer-home land held to be continuous); Lee v. Lozier, 945 P.2d 214, 219

(Wash. App. 1997) (finding seasonal occupancy of a summer house did not destroy

the continuity of claimant's use where the use was consistent with that of a true

owner).

   A claim for adverse possession may be defeated if there is a significant or

substantial break or abandonment of the claimant’s continuity of possession, see

Noyes v. Douglas, 81 P. 724, 725 (Wash. 1905), but that will not be an issue here.




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     c. Element three: exclusivity of use

   Like the elements above, “[t]he ultimate test [of exclusivity] is the exercise of

dominion over the land in a manner consistent with actions a true owner would

take.” Lilly v. Lynch, 945 P.2d 727, 732 (Wash. App. 1997) (citation omitted). But

“[a] claimant’s possession need not be absolutely exclusive in order to satisfy the

exclusivity condition of adverse possession.” Id. (citing Crites v. Koch, 741 P.2d

1005, 1008 (Wash. App. 1987)) (emphasis in original). In fact, the “occasional,

transitory use by the true owner usually will not prevent adverse possession if the

uses the adverse possessor permits are such as a true owner would permit a third

person to do as a ‘neighborly accommodation.’” Id. (citation omitted).

   This neighborly accommodation—that is to say, actions by the true owner that

do not negate the exclusivity element—can range from the true owner occasionally

walking across the disputed area, see Froland v. Frankland, 431 P.2d 188, 191-92

(Wash. 1967) (overruled on other grounds by Chaplin, 676 P.2d at 436 n.2), to

occasional parking of farm equipment. See Crites,741 P.2d at 1008. For example, in

Frolund, the Washington Supreme Court held,

      [T]he evidence reveals that the children of the parties, as well as those of
      other neighbors, played about and over the various neighborhood beach areas
      with no more than the usual parental approval and restraint, and that the
      parties themselves occasionally, socially, and casually visited back and forth,
      and sometimes assisted one another in the performance of various work
      projects, e.g., beaching the swimming raft for winter storage. Such conduct,
      under the circumstances, denotes neighborliness and friendship. It does not
      amount to a subordination of defendants' adverse claim to the disputed
      wedge....

431 P.2d at 192. Furthermore, in Crites, the true owners used the disputed property

to occasionally park farming equipment as a shortcut to another parcel of land,


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which the court held was merely an accommodation—i.e., did not eradicate the

adverse-possessor’s claim—as compared to the possessor’s “intensive” use which

“differed fundamentally in scope and substance” from the “slight” use made by the

true owner. 741 P.2d at 1008.

   In the end, the crux of the “exclusivity of use” component to adverse possession is

simply that the “occupancy and use of property, for the purposes of establishing

adverse possession, need only be of the character that a true owner would assert,

considering the nature and location of the land. See Lilly, 949 P.2d at 732; Bryant v.

Palmer Coking Coal Co., 936 P.2d 1163 (Wash. App. 1997).

   Here there is no use by any purported record owner of the right of way at all.

While there may have been others who used the right of way, for parking, driving or

playing, all such use by others was merely a neighborly accommodation.


     d. Element four: hostile use

   Hostility “is merely possession without permission of the owner or of anyone who

has the legal power to grant permission.” Washington Practice: Adverse Possession

and Related Doctrines—Hostility—In general § 8.12 (2012). However, “[h]ostility

does not imply enmity or ill will between disseisor and disseissee; in most cases they

do not communicate at all about possession.” Id. Rather, this element “requires only

that the claimant treat the land as his own as against the world throughout the

statutory period.” Chaplin, 676 P.2d at 436.

   “The nature of [the claimant’s] possession will be determined solely on the basis

of the manner in which he treats the property.” Id. at 436. Even “if the owner knows

of the adverse possession and allows it, perhaps in the mistaken belief that the

possessor is the owner, this will not prevent the possession’s being hostile.”


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Washington Practice: Adverse Possession and Related Doctrines—Hostility—In

general §8.12 (2012) (emphasis added) (citing Hovila, 292 P.2d 877.


     e. Statute of limitations to challenge adverse possession

   Under Wash. Rev. Code § 4.16.020, the party claiming adverse possession must

have satisfied all the above-described elements and used the land as their own for a

minimum of ten years. With the exception of the Spencers and the Freedmans, all

Plaintiffs have used the right of way for ten years prior to the taking of the property

on September 18, 1998. But so long as Spencer and Freedman predecessors in

interest commenced adverse possession on or before September 18, 1988—which

they did—that adverse use is included in the equation under the doctrine of

“tacking.” See Shelton v. Strickland, 21 P.3d 1179, 1184 (Wash. App. 2001) (“the

element of hostility…does not bar the application of privity to successors through

documentary conveyances”); see also Washington Practice: Adverse Possession and

Related Doctrines—Uninterrupted (continuous) possession—Tacking §8.18 (2012)

(“[T]he Washington Supreme Court regards an adverse possession that continues

against successive record owners as one continuing period.”).


     f. Scope of the adverse possession

   Consistent with the overarching maxim that the possession which ripens title is

the type of use an owner would make of the property, the physical scope of the

possession is not limited to the actual footprints upon which use occurred for a ten

year period. If it were, then courts would be forced to carve up lots into potentially

numerous irregularly shaped new parcels of land.

   Fortunately, the Washington courts have dealt with this issue. In Lloyd v.

Montecucco, the court explained that just because the adverse use presented in a

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jagged line, and the possessor did not occupy every square yard, the trial court’s

demarcation of the use was proper. 924 P.2d 927, 931 (Wash. App. 1996).


   2. Plaintiffs’ evidence shows that under Washington State law they (or
      their predecessors) satisfied the elements of adverse possession to
      the subject properties on or before September 18, 1998.

     a. Donna Marie Raab Matrinez

   Ms. Matrinez is the owner of property which her parents purchased in 1967. Her

parents, the Raabs, built sheds, planted gardens, including construction and

maintenance of artificially raised beds and fenced the gardens to protect them from

deer. See Ex. 10 (Matrinez Decl.). The use was extensive, continuous, exclusive and

involved the construction and use of multiple structures. The Raabs’ and Ms.

Matrinez’s possession meets the standard for open, notorious, actual and

uninterrupted and use hostile to any other claimant to title. Id.

   No purported third-party owner ever granted permission for the Raabs’

extensive use of the right of way. While these uses did not interfere with the

railroad’s use, they are all uses which are inconsistent with railroad use. But

because these uses, related to gardening structures and improvements are not

railroad uses, any theoretical title owner should have been aware that these uses

were not being done by the railroad pursuant to its easement. Because the use was

open and notorious, actual and uninterrupted, exclusive, and hostile to any

theoretical record owner, Matrinez has established ownership of the railroad right

of way no later than September 18, 1998, the date of the taking at issue in this case.




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     b. Clifford and Kathy Schroeder

   The Schroeders purchased their property in 1974. See Ex. 9 (Schroeder Decl.).

Their use of the railroad right of way has met all of the requirements for obtaining

title via adverse possession under Washington law.

   For well over 10 years, the Schroeders have used the entire right of way adjacent

to their property in an open, notorious, actual, uninterrupted, exclusive and hostile

manner. One day in 1977, they discovered a car overturned in a gully or ravine

about 20 feet deep along the rail line with a person crying for help. After helping

her to safety, they filled in the ravine They filled in the gullys on both sides of the

rail line so that they are no longer 20 feet deep, but relatively level with the surface

of the rail line. Shortly thereafter, the Schroeder planted numerous trees and

installed an irrigation system through the right of way to water plants and trees. In

fact, the area of the right of way that they have maintained is collequially referred

to as the “arboretum section” of the King County trail. See Ex. 9 (Schroeder Decl.).

   Another portion of the right of way is an area where they have paved with

asphalt which they use for parking and their driveway. In the northwest corner of

the right of way, there is an area in which they have a vegetable garden. They have

actively maintained these uses that together cover all of the right of way for well

over 40 years. See Ex. 9 (Schroeder Decl.). No one has ever disputed the Schroeder’s

use or title to the right of way prior to King County being authorized in 1998 to

operate a trail. On the whole, because the Schroeders’ use of the right of way has

been open and notorious, actual and uninterrupted, exclusive, and hostile to any

theoretical record owner, the Schroeders established ownership of the railroad right

of way no later than September 18, 1998, the date of the taking at issue in this case.



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     c. John and Carolyn Rossi

   The Rossis purchased their property at issue in this case in 1983. Ex. 6 (Rossi

Decl.). Shortly thereafter, the used the western half of the right of way in a manner

which meets all the requirements to acquire title by adverse possession. In the early

1985, they installed a basketball hoop on the west side of the right of way and paved

a portion of that half with asphalt. Between the basketball hoop and the railroad

right of way, the Rossi’s planted trees to provide a buffer from the road and have

maintained them ever since. The Rossi’s or their family or invitees have used the

area as a basketball court and for parking vehicles and other uses related to

residential use. See Ex. 6 (Rossi Decl.). They are clearly not railroad uses and

anyone who might theoretically claim to own the right of way on theory that the

Rossis did not purchase it should have been aware and defend their title to the

property. No one ever did.

   For the remainder of the west half of the railroad not paved for the basketball

court and the planting of tres, they installed a vegetable and garden which they

have been actively using since 1983 to this day.

   On the whole, because the Rossis’ use of the right of way has been open and

notorious, actual and uninterrupted, exclusive, and hostile to any theoretical record

owner, no one could mistake that the Rossis were possessing the right of way as if it

were their own. The Rossis have established ownership of the railroad right of way

no later than September 18, 1998, the date of the taking at issue in this case.


     d. Raymond and Lael Spencer

   The Spencers purchased the property at issue in 1992. SeeEx. 5 (Spencer Decl.).

Since that time they have used the railroad right of way in a manner that entitles



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them to title via adverse possession. While their use did not extend for 10 years

prior to 1998, the date of the taking, they are able to show title by that date by

tacking on the similar use of their predecessor for years before 1992. Shelton v.

Strickland, 21 P.3d 1179, 1183 (Wash. App. 2001). Their predecessor’s prior use is

established by long time neighboring property owner. See Ex. 8 (McCallum Decl.).

   The evidence submitted shows that both sides of the right of way have been used

by the Spencers and their predecessors in ways the meet the requirements for

adverse possession. In the southwest corner of the right of way, the Spencers have

raised garden beds since 1992. Prior to that time, their predecessor used the same

area by regularly mowing the lawn and other activities constituting lawn care. The

right of way adjacent to the Spencers’ property is a driveway which is paved with

asphalt and is provided as a neighborly accommodation to others in his

neighborhood. There is no recorded deed giving these neighbors, including the

Brockways and the Rossi, access across the Spencer property or the railroad right of

way. The law is clear that the exclusivity requirement for adverse possession is not

missing when an adverse possessor allows others to also use the area as a

neighborly accommodation. See, e.g., Frolund v. Frankland, 431 P.2d 188, 191-92

(1967), overruled on other grounds by Chaplin, 676 P.2d at 436 n.2.

   Similarly, the east side of the right of way includes a small shelter for children to

wait in a covered area for school buses. This is not a government provided service,

but one which the Spencers, like their predecessors, provided to neighbors within

the community. The Spencers also have fruit trees within the right of way and a

flag pole used for an American flag. These are all uses inconsistent with railroad

use. Any theoretical record owner should have been alerted to the fact that someone



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else was possessing the right of way as if it were their own. The Spencers have

acquired title to the entire railroad right of way via adverse possession.


     e. Reid and Susan Brockway

   The Brockways purchased their property at issue in 1973 and built their home in

1992. See Ex. 7 (Brockway Decl.). In the period before they built their home, there

was a vegetable garden in the right of way which they allowed neighbors to use and

from which vegetables were used by the neighbors and the Brockways. (Id.). There

was also a treehouse which their daughter and her friends played in as well as the

surrounding overgrown area that consistuted the remainder of the right of way.

   When the Brockways began building their home in 1992, they continued to use

the right of way but in a different manner. They demolished the treehouse,

maintained the area with grass and used it for parking and essentially an extension

of their lawn. They have also planted apple trees and maintained them as well as

harvested the fruit from them for now decades.

   No one ever questioned the Brockway’s use of the right of way. It should be clear

that that the Brockways were using the right of way as if it were their own and, if

for any reason they do not have title via the deed to their property, they are surely

the owners via adverse possession.


     f. Robert and Beth Nelson and the Hughes Estate

   As addressed above, Beth Nelson is one of the heirs of the Hughes Estate. Her

father and mother, William and Betty Hughes owned the property in Government

Lot 1 and the shore lands adjacent to the northern 200 feet of Government Lot 2.

William and Betty Hughes deeded the southern 96 feet of the total 200 feet in

Government Lot 2 to the Nelsons in 1977. Ex. 3 (Klinge Decl.)

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   In 1977, the Nelsons built their home on the uplands adjacent to the right of

way. See Ex. 11 (Nelson Decl.) They lived on that lot until they sold the property in

November of 1998. The used the entire uplands adjacent to the right of way for well

over 10 years prior to the 1998 taking date. If for any reason, they were not the

owners of the uplands as addressed above, they certainly became owners of the

uplands through adverse possession.

   In regard to the two lots immediately north of the Nelson’s property owned by

the Hughes Estate, one in Government Lot 1 and one in Government Lot 2, the

Nelson Estate used those uplands extensively in the period of 1940 through 2000.

See Ex. 12 (Hughes Decl.), They also used the right of way in several ways as well.

A private road cut through the right of way in a diagonal pattern to access the

beach area. The Nelsons had an excavation business and parked their equipment on

the east side of the railroad tracks but with the right of way on a daily basis from

1986 to 1998. Ex. 11 (Nelson Decl.) The Nelsons had their septic drainfield on the

right of way. (Id.)

   If for any reason the Nelsons and the Hughes Estate did not acquire the right of

way through their deeds, they certainly have acquired title prior to 1998 by their

adverse possession of the right of way.


     g. Vannessa and Mike Collins

   The Collins Plaintiffs bought their property (sometimes referred to as “Lot

9028”) from the Estate of Zella F. Short on September 26, 1989. See Ex. 13, ¶17

(Orrico Decl). While their use of the right of way did not extend for 10 years prior to

September 18, 1998—the Collins Plaintiffs were just under one year short of 10

years—their predecessor’s use, paired with their own, spanned from 1983 to the


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time of the taking in1998. Combined, they used the property in a manner that met

all the criterion of adverse possession.

   Zella Short bought the property from John Earley in 1983. See Ex. 13, ¶16

(Orrico Decl). Mrs. Short was a family friend to Mike Collins and to his extended

family, who included Gordon Barrett Sr., Gordon Barrett Jr., Don Barrett, and

many others. See Ex. 14, ¶3 (Collins Decl). Mrs. Short did not build a home on her

property but used virtually all her property as a retreat for her and her family

friends. She and they, at her invitation, used the right of way for recreation and

attended to its landscaping and upkeep. See Ex. 14, ¶¶5-6 (Collins Decl). Activities

included barbeques, hunting for arrowheads, frogs, and other treasures; campfires,

fireworks, birthday and holiday celebrations; erecting tables, benches, and sheds

(all built from trees harvested and milled by Mike Collin’s family). (Id.) And they

assisted Mrs. Short with extensive gardening and landscaping, including pruning,

installing perennial and annual vegetable gardens, and they maintained the

landscaping, mowing the grassed areas and controlling the blackberries, as well as

planting deterrent plants such as holly and ivy to deter trespassers. (Id. ¶6.)

   Mrs. Short passed away in 1986, but with the Short Estate’s permission, the

Collins/Barrett family continued this same upkeep and use of the right of way to the

exclusion of trespassers or any outsiders. (Id. ¶¶7-8.) In 1987 Mrs. Short’s daughter,

on behalf of the Estate, gave Mike Collins permission to start making improvements

to the property in preparation for purchasing it once probate was completed. (Id.

¶7.) The uses for recreation and maintenance continued, but added to that was the

additional work needed to prepare for building the Collins home. And so before and

after the purchase of his property (in 1989) Mr. Collins performed extensive



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preconstruction work on Lot 9028, including soil testing, landscaping, design work,

tree cutting, and site preparation. (Id. ¶8.) Thereafter, the Collins Plaintiffs build

their home in 1991 and performed extensive landscaping, installed utilities,

irrigation, and generally did a significant amount of project work across the entire

property, including the right of way area except for the immediate are of the train

track itself. (Id. ¶9.)

   At no point, other than Zella Short, did anyone purport to give Mike or Vanessa

Collins permission to use this property as their own. The use of this property was

extensive and met the statutory period for adverse possession. Accordingly, long

before the taking, the property was adversely possessed.


     h. Don Barrett

   The Barretts bought their property in 1961 from Earley. (Ex. 15 (Barrett Decl.)

¶1). Just as all their neighbors did, when they bought the property they believed

they were acquiring fee title under an easement and so treated the right-of-way

area as their own. (Id. ¶¶3-4.)

   The Barrett property was an unimproved lot that, beginning in 1982, they

maintained year-round, every year, for their private use and recreation. (Id. ¶¶4-6.)

Throughout the year they cleared and maintained streams, cleared ditches,

maintained the access road and parking area, managed weeds and dead leaves,

performed tree management, harvested firewood for campfires and residential wood

fires; in the Spring they set up for family events, building picnic tables (milled by

family), installing tarps, setting up hammocks. (Id..) In 1994 they even installed a

salmon fishery for the incubation of salmon and other fish. (Id. ¶5.) While the slope

to the east of the rail bed was limited in usage because of the slope, the Barretts


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cleared ditches in that area for the maintenance of stream flow. (Id. ¶.) As to the

rest of the right of way, the Barretts kept the area natural, planting and

maintaining rhododendron, roses, ivy, and native cedar trees throughout the

property, as well as holly to inhibit trespassing. (Id.)

   The Barretts used all of the right of way property as would any owner of the

right of way. See discussion of applicable law, supra. As such, if they were not

already the owners of the right of way, they acquired ownership by having

adversely possessed the right of way before the date of taking.


     i. Judith and Howard Freedman

   The Freedman Plaintiffs bought their property on October 12, 1988, from Barry

Lewis and his wife, and sold it in 2006. (Ex. 16 ¶1 (Freedman Decl).) When they

bought the property they believed they were acquiring fee title under an easement

and so treated the area as their own. (Id. ¶2.) While their use did not extend for 10

years prior to September 18, 1998—they were 24 days short of 10 years—their

predecessors’ use extended back to 1975. (Id. ¶¶1-4; Ex. 17 ¶3 (Lewis Declaration).)

   Mr. Lewis made extensive uses of the right of way on its west side. He built the

edge of his house, garage and driveway so that it overlapped the western edge of the

easement one foot; next to the driveway and further into the easement he built a

rock wall; with the exception of an 8’ steep embankment sitting between the rails

and his house, year-round he used all parts of the area to the west of the tracks by

clearing, landscaping, and maintaining the area as well as installing a play area for

his daughter, and he maintained a drain field, cleaning out trees and roots. (Ex. 17

¶3 (Lewis Declaration).) In addition, on the flat area adjacent to the rails, he parked

his boat, trailer, truck and stored firewood in a covered bunk. (Id.)


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   The Freedmans picked up from where Mr. Lewis left off as soon as they bought

their property in 1988. (Ex. 16 ¶¶4-6 (Freedman Decl).) Additionally, in the steep

embankments to the west and all of the area east side of the tracks they removed

excessive brush (mostly blackberry bushes), and other excessive growth and

continued to maintain those areas to minimize overgrowth. (Id. ¶5.) On the rest of

the property, aside from the tracks and 5’ to each side which were maintained by

the railroad company, they used virtually every square inch by maintaining and

mowing, pruning, weeding; planting flowers, shrubs, hedges, a vegetable garden,

cypress, cherry, and other fruit trees; installing fencing and irrigation systems, and

a walking area with a small garden, trail, bench, flowers, bushes and flowering

trees; they stored a sailboat and trailer, wood piles, and maintained the septic drain

field. (Id. ¶¶4-6.)

   Neither the Freedmans nor Mr. Lewis know of anyone who claimed that they

were not the owners of the right of way and so they never received permission from

anyone to use it as their own. (Id. ¶¶2-3; Ex. 17 ¶4 (Lewis Decl).) In short, by 1985,

first through the actions taken by Mr. Lewis and next by the Freedmans, the

Freedmans had adversely possessed the right of way and owned that land the day

the United States took it without compensation.

   While all Plaintiffs believe they acquired the fee underlying the right of way

through their deed to their property, they certainly have used the right of way as if

it were their own for far more than the ten year statutory period to acquire title via

adverse possession. Their use has been open, notorious, exclusive, continuous and

hostile to any other theoretical person or entity claiming title. And it is beyond




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dispute that no one else has ever claimed title. Plaintiffs have met each element for

adverse possession prior the date of taking in 1998.


                                 CONCLUSION

   At a glance, the deeds at issue appear to have excluded the right of way. For the

Plaintiffs to the south, the deeds used metes and bounds that bear a resemblance to

the Roeder deeds, and to the north the deeds conveyed “shorelands.” But the

evidence surrounding the conveyances as well as the subsequent history—to be

considered when construing these deeds—overwhelmingly show that the strips of

right of way were conveyed to these Plaintiffs and their predecessors in the deeds.

   For all the deeds, the subsequent history shows no one else claimed title in the

right of way. Further, in the deeds with metes and bounds, less than precise

references were used, and the context in which they were granted shows it would

have been nonsensical for the grantors to keep the right of way. That is likely why

not one of them acted as if they had intended to reserve the right of way for

themselves. As for the conveyances that referenced “shorelands,” they granted not

only shorelands but also the adjoining uplands, including the right of way. This

shorthand name was understood by all the parties, the court, the title companies,

the tax assessor and anyone else who was involved in the partition of the Palmberg

estate in the mid-1900s, when the “shorelands” nickname was created for these

properties in the Palmberg legacy. What’s more, even if the deeds themselves did

not convey the strips, Plaintiffs own them nevertheless through operation of

adverse possession. To a person, they and their predecessors used the rights of

way—without any third party’s permission—as if they owned them, for all to see,

for decades leading up to the taking.

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   For the foregoing reasons, Plaintiffs respectfully request that the Court deny the

Defendant’s motion for summary judgment and instead enter partial summary

judgment holding that each of the Plaintiffs filing this motion owned the servient

estate, subject to the railway easement, when the United States took their

properties without just compensation.

   Plaintiffs also respectfully request that the Court schedule oral argument at its

convenience.

Respectfully submitted this 2nd day of February, 2018.

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